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                         UNITED STATES DISTRICT COURT
18                    CENTRAL DISTRICT OF CALIFORNIA
19 FEDERAL TRADE COMMISSION,                     Case No. 2:15-CV-04527-GW (PLAx)

20                       Plaintiff,              PLAINTIFF’S STATEMENT OF
                                                 UNCONTROVERTED FACTS &
                         v.                      CONCLUSIONS OF LAW IN

               PLAINTIFF’S STATEMENT OF UNCONTROVERTED FACTS & CONCLUSIONS OF LAW
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1                                                 SUPPORT OF ITS MOTION FOR
     BUNZAI MEDIA GROUP, INC.,                    SUMMARY JUDGMENT
2    et al,
2
3                Defendants.
3
4
5
4
6       Plaintiff, Federal Trade Commission (“FTC”), for its Statement of
5
7    Uncontroverted Facts and Conclusions of Law in Support of its Motion for
6
8
     Summary Judgment and pursuant to Local Rule 56-1, states:
9
7
10        1.     The FTC brings this action under Sections 13(b) and 19 of the
 8
11 Federal Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 53(b) and 57b; Section
 9
12
   5 of the Restore Online Shoppers’ Confidence Act (“ROSCA”), 15 U.S.C. § 8404;
13
10
14 and Section 917(c), of the Electronic Fund Transfer Act (“EFTA”), 15 U.S.C.
11
15 § l693o(c) to obtain permanent injunctive relief, rescission or reformation of
12
16
   contracts, restitution, the refund of monies paid, disgorgement of ill-gotten
17
13
18 monies, and other equitable relief for Defendants’ law violations. See Dkt. 235.
14
19                                 SUMMARY OF THE CASE
15
20
          2.     Defendants collectively marketed skincare products over the Internet
21
16
22 using deceptive offers with hidden costs, negative option features, and return
17
23 policies. Specifically, Defendants offered “risk-free” trials of skincare products to
18
24
   consumers nationwide through pop-up advertisements and websites. Defendants
25
19
26 required consumers who accepted the “risk-free” trials to provide their credit or
20
27
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1    debit card billing information, purportedly to pay nominal shipping and handling
2
2    fees to receive the advertised products. However, 10 days after receiving
3
3
4    consumers’ billing information, Defendants charged consumers the full costs of

5
4    the products included in the “risk-free” trials, imposing charges of up to $97.88
6
5    onto consumers’ credit or debit cards. Defendants refused to provide refunds for
7
6
8    product returns unless consumers met onerous conditions that were not adequately

9
7    disclosed. Additionally, after charging consumers, Defendants enrolled consumers
10
 8 in a negative option continuity plan, in which Defendants shipped additional
11
 9 products each month and charged consumers’ credit or debit cards the full costs of
12
13 the products, usually $97.88 per month. Defendants’ scheme deceived consumers
10
14
11 nationwide out of millions of dollars.
15
12
16       3.    As explained more fully below, Defendants operated a common

17 enterprise through which they: (a) failed to disclose adequately material terms of
13
18
14 their sales offer, including the offer’s costs and negative option features; (b)
19
20 falsely represented that consumers could obtain products on a “trial” or “risk-free”
15

21
16 trial basis for only a nominal shipping and handling fee; (c) failed to obtain
22
17 consumers’ informed consent to the material terms, including the negative option
23
24 feature, of the transaction before charging the consumer; (d) falsely represented
18
25
19 their business was accredited by the Better Business Bureau with an “A-” rating;
26
20 (e) failed to provide consumers a simple method of cancelling their negative
27
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1    option continuity plan, and (f) debited consumers’ bank accounts on a recurring
2
2    basis without obtaining written authorization from consumers or providing a
3
3
4    written copy of the authorization to the consumer.

5
4                 JURISDICTION, VENUE, AND INTRADISTRICT ASSIGNMENT
6
5          4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C.
7
6
8    §§ 1331, 1337(a), and 1345 and 15 U.S.C. §§ 45(a), 53(b), and 57b. Dkts. 299 ¶ 4;

9
7    300 ¶ 4; 301 ¶ 4. See also Exs. 910-2 ¶ 1; 911-2 ¶ 1; 914-2 ¶ 1; 915-2 ¶ 1; 916-2 ¶
10
 8 1; 918-9 ¶ 1.
11
 9
12        5. Venue is proper in this district under 28 U.S.C. §§ 1391(b)(1) and

13 (b)(2), and 15 U.S.C. § 53(b). Dkts. 299 ¶ 5; 300 ¶ 5; 301 ¶ 5. See also Exs. 910-2
10
14
11 ¶ 6; 911-2 ¶ 6; 912-4 ¶ 6; 913-4 ¶ 6; 914-3 ¶ 6; 915-3 ¶ 6; 916-10 ¶ 6; 917-12 ¶ 6;
15
16 918-10 ¶ 6.
12

17
13       6.    Assignment to the Western Division is proper because Defendants’
18
14 primary place of business was in Van Nuys, California. Ex. 904.
19
15
20                                    PLAINTIFF

21
16       7.     The FTC is an independent agency of the United States Government
22
17 created by statute. 15 U.S.C. §§ 41-58. The FTC enforces Section 5(a) of the FTC
23
24 Act, 15 U.S.C. § 45(a), which prohibits unfair or deceptive acts or practices in or
18
25
19 affecting commerce. Additionally, the FTC enforces ROSCA, 15 U.S.C. §§ 8401-
26
20 05, which prohibits certain methods of negative option marketing on the Internet,
27
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1     and EFTA, 15 U.S.C. § 1693 et seq., which regulates the rights, liabilities, and
2
2     responsibilities of participants in electronic fund transfer systems.
3
3
4           8.      The FTC is authorized to initiate federal district court proceedings,

5
4     by its own attorneys, to enjoin violations of the FTC Act, ROSCA, and EFTA,
6
5     and to secure such equitable relief as may be appropriate in each case, including
7
6
8     rescission or reformation of contracts, restitution, the refund of monies paid, and

9
7     the disgorgement of ill-gotten monies. 15 U.S.C. §§ 53(b), 56(a)(2)(A),
10
 8 56(a)(2)(B), 57b, 8404, and 1693o(c).
11
 9
12                                  DEFENDANTS

13
10          9.      Defendant BunZai Media Group, Inc. (“BunZai”), also doing
14
11 business as AuraVie and Miracle Face Kit, was a California corporation with its
15
16 principal place of business at 7900 Gloria Avenue, Van Nuys, California 91406
12

17 (“the Van Nuys Office”). Exs. 904-1; 550, at 17:4-7; 600-9. BunZai. also used a
13
18
14 mailbox with the address of 16161 Ventura Boulevard, #378, Encino, California
19
20 91436 (“Encino Mailbox A”). Exs. 600-29; 904-2; and 909-6. At times material to
15

21
16 the Complaint, BunZai. advertised, marketed, distributed, or sold skincare
22
17 products, or provided customer service for such products, to consumers
23
24 throughout the United States. Exs. 909-1, -23, -24; 910-8 ¶ 56; 911-9 ¶ 56; 914-13
18
25
19 ¶ 56; 915-13 ¶ 56. BunZai transacted business in this district and throughout the
26
20 United States. Dkts. 244 ¶ 9; 245 ¶ 9; 250 ¶ 9; 251 ¶ 9; 253 ¶ 9; 254 ¶ 9.
27
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1           a.      Defendant BunZai sold skincare products
2
2                   using the name “AuraVie.” Exs. 909-23; 910-9 ¶ 59; 911-9 ¶ 59; 914-
3
3
4                   13 ¶ 59; 915-13 ¶ 59.

5
4           b.      Defendant BunZai sold skincare products
6
5                   using the name “Miracle Face Kit.” Exs. 909-23; 910-9¶ 61; 911-9 ¶
7
6
8                   61.

9
7           c.      BunZai was owned by Defendants Alon
10
 8                  Nottea, Igor Latsanovski, and Khristopher Bond. Exs. 18-2; 302-2.
11
 9
12          d.      BunZai handled customer service, chargeback refutation, complaint

13
10                  handling, collections, and order fulfillment for Defendants’ skincare
14
11                  product business. Dkt. 120, at 38; Exs. 103; 104; 105; 111; 112; 114;
15
12
16                  117; 124; 128; 240.

17
13          e.      Around June 6, 2013, BunZai was dissolved and its operations were
18
14                  replaced by a convoluted corporate structure involving numerous
19
15
20                  companies and shell companies, each with different owners or CEOs.

21
16                  See Exs. 904-4; 946, at 13:16-19:25; 946, at 20:24-21:16. There was
22
17                  a transitional period during which the shell corporations and BunZai
23
18
24                  co-existed and operated simultaneously. See Dkt. 120, at 38-40.

25
19
26
20
27
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1           f.      BunZai initially handled customer service, chargeback refutation,
2
2                   complaint responses, collections, and fulfillment. See Dkt. 120, at 38;
3
3
4                   Exs. 114; 124; 128; 240; see also UF #9(d), supra.

5
4           10.     Defendant Pinnacle Logistics, Inc., (“Pinnacle”) is or was a
6
5     California corporation with its principal place of business at the same location as
7
6
8     BunZai at the Van Nuys Office. Exs. 904-5; 550, at 17:21-24, 550, at 216:12-17.

9
7     Pinnacle had a secondary address of 6925 Canby Avenue, Suite 105, Reseda,
10
 8 California 91335 (“the Reseda Office”). Dkts. 244 ¶ 10; 245 ¶ 10. At times
11
 9 material to the Complaint, Pinnacle, advertised, marketed, distributed, or sold the
12
13 skincare products at issue in this case, or provided customer service for such
10
14
11 products, to consumers throughout the United States. Dkts. 244 ¶ 1-; 245 ¶ 10.
15
16 Pinnacle transacted business in this district and throughout the United States.
12

17 Dkts. 244 ¶ 10; 245 ¶ 10; 250 ¶ 10; 253 ¶ 10; 254 ¶ 10.
13
18
14       a.     Pinnacle took over the order fulfillment, customer service, and
19
15
20              chargeback functions and managed merchant accounts for

21
16                  Defendants’ skincare business after BunZai dissolved. See Exs. 194;
22
17                  195; 222.
23
18
24          11.     Defendant DSA Holdings, Inc. is or was a California corporation

25
19 with its principal place of business at the same location as Pinnacle, at the Van
26
20 Nuys Office, and a secondary address of 8335 Winnetka Avenue, #112, Winnetka,
27
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1    California 91306. Dkts. 244 ¶ 11; 245 ¶11; Exs. 904-9, -11; 550, at 19:19-20:7. At
2
2    times material to the Complaint, DSA Holdings, Inc., processed credit card or
3
3
4    debit card payments for AuraVie, Dellure, Miracle Face Kit, or other skincare

5
4    products sold by Defendants through negative option. Exs. 910 ¶ 178; 911 ¶ 178;
6
5    550, at 19:19-21. DSA Holdings, Inc. transacted business in this district and
7
6
8    throughout the United States. Dkts. #44 ¶ 11; 245 ¶ 11.

9
7          12.     Defendant Lifestyle Media Brands, Inc. is or was a California
10
 8 corporation with its principal place of business at the Van Nuys Office and a
11
 9 secondary address of 8335 Winnetka Avenue, #118, Winnetka, California 91306.
12
13 Dkts. 244 ¶ 12; 245 ¶12; Ex. 904-14, -15. At times material to the Complaint,
10
14
11 Lifestyle Media Brands, Inc. advertised, marketed, distributed, or sold the
15
16 skincare products at issue in this case to consumers throughout the United States.
12

17 Ex. 550, at 71:11-14, 71:22-23. Lifestyle Media Brands, Inc. transacted business
13
18
14 in this district and throughout the United States. Dkts. 244 ¶ 12; 245 ¶ 12.
19
15
20        13. Defendant Agoa Holdings, Inc. is or was a California corporation

21
16 with its principal place of business at the Van Nuys Office. Dkts. 244 ¶ 13; 245 ¶
22
17 13; 250 ¶ 13; 251 ¶ 13; see also Ex. 904-18. At times material to the Complaint,
23
24 Agoa Holdings, Inc. advertised, marketed, distributed, or sold the skincare
18
25
19 products at issue in this case to consumers throughout the United States. Exs. 550,
26
20
27
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1    at 71:11-14; 909-154. Agoa Holdings, Inc. transacted business in this district and
2
2    throughout the United States. Dkts. 244 ¶ 13; 245 ¶ 13; 250 ¶ 13; 251 ¶ 13.
3
3
4          14.     Defendant Zen Mobile Media, Inc. is or was a California

5
4    corporation with its principal place of business at the Van Nuys Office and a
6
5    secondary address of 4335 Dickens Street #167, Sherman Oaks, California 91403.
7
6
8    See Dkts. 244 ¶ 14; 245 ¶ 14; Ex. 904-23, -26. Zen Mobile Media, Inc. also used a

9
7    commercial mail receiving agent mailbox, 16830 Ventura Boulevard, #360,
10
 8 Encino, California 91436 (“Encino Mailbox B”). Ex. 904-24. At times material to
11
 9 the Complaint, Zen Mobile Media, Inc. processed consumers’ payments for
12
13 skincare products sold by BunZaiExs. 914 ¶ 73; 915 ¶ 73; 556, at 21:1-4; 556, at
10
14
11 23:8-11. Zen Mobile Media, Inc. transacted business in this district and
15
16 throughout the United States. Dkts. 244 ¶ 14; 245 ¶ 14.
12

17
13       15. Defendant Safehaven Ventures, Inc. is or was a California
18
14 corporation with its principal place of business at the Van Nuys Office and a
19
20 secondary address of 548 South Spring Street, #406, Los Angeles, California
15

21
16 90013. Ex. 904-28; see also Dkts. 244 ¶ 15; 245 ¶ 15. Safehaven Ventures, Inc.
22
17 also used Encino Mailbox B. Ex. 904-30. At times material to the Complaint,
23
24 Safehaven Ventures, Inc. advertised, marketed, distributed, or sold the skincare
18
25
19 products at issue in this case to consumers throughout the United States. Ex. 550,
26
20
27
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1     at 71:11-14, 72:4-5. Safehaven Ventures, Inc. transacted business in this district
2
2     and throughout the United States. Dkts. 244 ¶ 15; 245 ¶ 15.
3
3
4           16.      Defendant Heritage Alliance Group, Inc. is or was a California

5
4     corporation with its principal place of business at the Van Nuys Office and a
6
5     secondary address of 21113 Osborne Street, Canoga Park, California 91304. Dkts.
7
6
8     244 ¶ 16; 245 ¶ 16; Ex. 904-32, -33. At times material to the Complaint, Heritage

9
7     Alliance Group, Inc. advertised, marketed, distributed, or sold the skincare
10
 8 products at issue in this case to consumers throughout the United States. Ex. 550,
11
 9 at 71:11-14, 72:6-7. Heritage Alliance Group, Inc. transacted business in this
12
13 district and throughout the United States. Dkts. 244 ¶ 16; 245 ¶ 16.
10
14
11       17. Defendant AMD Financial Network, Inc. is or was a California
15
16 corporation that listed its principal place of business as 9820 Owensmouth
12

17 Avenue, #15, Chatsworth, California 91311. Ex. 904-36, -37. AMD Financial
13
18
14 Network, Inc. was controlled and operated from the Reseda office. Dkt. 120,
19
20 12:1-13:20, 77:5-16. At times material to the Complaint, AMD Financial
15

21
16 Network, Inc. advertised, marketed, distributed, or sold the skincare products at
22
17 issue in this case to consumers throughout the United States. Exs. 550, at 71:11-
23
24 72:9; 909-140,-142,-143, -144.
18
25
19       18. Defendant SBM Management, Inc. is or was a California
26
20 corporation with its principal place of business at 655 North Central Avenue,
27
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1     Suite 1700, Glendale, California 91203, and its secondary address was the Encino
2
2     Mailbox B. Ex. 904-39, -40. At times material to the Complaint, SBM
3
3
4     Management, Inc., advertised, marketed, distributed, or sold the skincare products

5
4     at issue in this case to consumers throughout the United States. Ex. 550, at
6
5     200:18-25. SBM Management, Inc. transacted business in this district and
7
6
8     throughout the United States. Dkts. 244 ¶ 18; 245 ¶ 18.

9
7           19.       Defendant Media Urge, Inc. is or was a California corporation that
10
 8 listed its principal place of business as 18757 Burbank Boulevard, Suite 205,
11
 9 Tarzana, California. Ex. 904-43. At times material to the Complaint, Media Urge,
12
13 Inc. marketed for BunZai, Exs. 910 ¶ 222; 912 ¶ 222; see also Ex. 556, at 115:5-
10
14
11 15; secured third party advertising tracked sales and designed marketing
15
16 materials. Exs. 910 ¶¶ 80-81; 911 ¶ ¶ 80-81; and performed marketing for the
12

17 Corporate Defendants. Exs. 910 ¶ 224; 550, at 33:19-34:12. Media Urge, Inc.
13
18
14 transacted business in this district. Dkts. 244 ¶ 19; 245 ¶ 19; 250 ¶ 19; 251 ¶ 19.
19
15
20       20. Defendant Adageo, LLC is or was a California limited liability

21
16 company with Encino Mailbox A listed as its registered place of business. Ex.
22
17 904-46, -47. At times material to the Complaint, Adageo, LLC, existed to
23
24 advertise, market, distribute, or sell the skincare products at issue in this case to
18
25
19 consumers throughout the United States. See Ex. 54-15, see also Ex. 550, at
26
20
27
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1     156:21-157:15. Adageo, LLC transacted business in this district. Dkts. 244 ¶ 20;
2
2     245 ¶ 20; 250 ¶ 20; 251 ¶ 20.
3
3
4           a.       Adageo, LLC purchased AuraVie products from a distributor and had

5
4                    them shipped to Pinnacle. Ex. 54 p. 11.
6
5           21.       Defendant CalEnergy, Inc. is or was a California corporation with
7
6
8     its principal place of business listed at 5482 Amber Circle, Calabasas, CA 90132.

9
7     Ex. 904-49. At times material to the Complaint, CalEnergy, Inc. financed BunZai
10
 8 and managed Pinnacle and Media Urge, Inc. Ex. 571-2, -3. CalEnergy, Inc.
11
 9 transacted business in this district. Dkts. 244 ¶ 21; 245 ¶ 21; 253 ¶ 21; 254 ¶ 21.
12
13 Defendant Igor Latsanovski is the CEO of CalEnergy, Inc. Ex. 904-51
10
14
11          a.       Igor Latsanovski admitted that CalEnergy, Inc. made investments and
15
12
16                   loans to Alon Nottea for Alon Nottea’s Internet skincare business.

17
13            Dkts. 253 ¶¶ 2-3; 254 ¶¶ 2-3.
18
14      22. Defendant Kai Media, Inc. is or was a California corporation. Ex.
19
20 904-52. Kai Media was controlled and operated from the Reseda Office. Dkt.
15

21
16 120, at 12:1-13:20, 77:5-16. Kai Media, Inc. also operated out of the Van Nuys
22
17 Office. Ex. 551, at 64:23-68-7. It also used Encino Mailbox B. Ex. 904-53. At
23
24 times material to the Complaint, Kai Media, Inc. advertised, marketed, distributed,
18
25
19 or sold the skincare products at issue in this case to consumers throughout the
26
20 United States. Exs. 909-171; 550, at 71:11-14, 72:18-19. Kai Media, Inc.
27
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1     transacted business in this district and throughout the United States. Dkts. 244 ¶
2
2     22; 245 ¶ 22.
3
3
4           23.      Defendant Insight Media, Inc. is or was a California corporation.

5
4     904-55. Insight Media, Inc., was controlled or operated from the Reseda Office.
6
5     Dkt. 120, at12:1-13:20, 77:5-16. Its secondary place of business was the Reseda
7
6
8     Office. Insight Media, Inc. also used Encino Mailbox B. Ex. 904-56. At times

9
7     material to the Complaint, Insight Media, Inc. advertised, marketed, distributed, or
10
 8 sold the skincare products at issue in this case to consumers throughout the United
11
 9 States. Ex. 550, at 41:25-42:5. Insight Media, Inc. transacted business in this
12
13 district. Dkts. 244 ¶ 23; 245 ¶ 23.
10
14
11       24. Defendant Focus Media Solutions, Inc. is or was a California
15
16 corporation. Dkts. 244 ¶ 24, 245 ¶ 24. Focus Media Solutions, Inc., was
12

17 controlled and operated from at 6850 Canby, Suite #103, Reseda, California
13
18
14 91335, which was in the same complex as the Reseda Office. Dkt. 120, at 12:15-
19
20 16:2. At times material to the Complaint, Focus Media Solutions, Inc. created
15

21
16 advertisements for skincare products sold by negative option. Ex. 910 ¶ 215.
22
17 Focus Media Solutions, Inc. transacted business in this district and throughout the
23
24 United States. Dkts. 244 ¶ 24; 245 ¶ 24.
18
25
19      25. Defendant Secured Commerce, LLC is or was a California
26
20 company doing business at the Reseda Office. Ex. 54-2. Secured Commerce
27
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1     created the websites used for deceptively marketing and selling skincare products,
2
2     See Ex. 54-2, including the landing pages that contained the bogus “risk free trial”
3
3
4     offers. See Ex. 54-2; 909-113, -114, -115, -116, -117, -118, -119, -120, -121, -122,

5
4     -123, -124, -125. At times material to the Complaint, as part of the common
6
5     enterprise, Secured Commerce LLC participated in efforts to advertise, market,
7
6
8     distribute, or sell the skincare products at issue in this case to consumers

9
7     throughout the United States. See Ex. 54-2. Secured Commerce, LLC transacted
10
 8 business in this district. Dkts. 244 ¶ 25; 245 ¶ 25.
11
 9
12       26. Defendant Secured Merchants, LLC is or was a California limited

13 liability company with its principal place of business at the Reseda Office. Dkts.
10
14
11 299 ¶ 26; 301 ¶ 26. Secured Merchants, LLC, provided other members of the
15
16 common enterprise the service of contesting chargebacks. See Ex. 917-45 ¶ 56.
12

17 Secured Merchants, LLC transacted business in this district. Dkts. 244 ¶ 26; 245 ¶
13
18
14 26.
19
15
20       a.   Relief Defendant Chargeback Armor, Inc., stated that Secured

21
16                   Merchants, LLC, billed SBM Management, Inc., for processing
22
17                   chargebacks request. Exs. 917 ¶¶ 156, 162.
23
18
24          b.       Secured Merchants, LLC, oversaw a variety of other responsibilities

25
19                   for the common enterprise.
26
20
27
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1                   i.            Secured Merchants managed the “voice logix” system,
2
2                                 Defendants’ automated customer service line. Ex. 257-2.
3
3
4                  ii.            Defendant Argaman, and Secured Merchants LLC,

5
4                                 provided $250,000 to Chargeback Armor, Inc. and was the
6
5                                 entity that owned chargebackarmor.com. Exs. 916 ¶ 235;
7
6
8                                 917 ¶ 235; 280-1.

9
7           c.           Secured Merchant, LLC’s executive summary stated that the
10
 8                       company’s founders owned a skincare product business:
11
 9
12                                Over the past two years, the founders of
                                  Secure Merchants saw first-hand every type of
13
10                                failure trap that could have killed their skin
14                                care product company, which today has
11                                monthly sales of $2.5 million or 25,000 orders.
15
12
16                                Thus the problems that our three initial
                                  services solve for any DRM [Direct Response
17
13                                Marketing] company are the core infrastructure
18                                needed to deal with (1) the inevitable credit
14                                card chargebacks, (2) keeping customers
19                                happy or allowing them an easy opt-out, and
15
20                                (3) providing the most sophisticated customer
                                  record management system.
21
16                                Ex. 256.
22
17          d.           A Secured Merchants, LLC, employee sent an email
23
18
24                       titled “ChargeBack Armor Jan + Feb figures” to Alon,

25
19                       Alan Argaman, Doron Nottea, and Roi Reuveni. Ex.
26
20
27
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1                    151. This email included chargeback statistics for
2
2                    AuraVie. Id.
3
3
4           e.       A document titled “Secured Merchants” described the

5
4                    “ChargeBack Armor” services as helping “win back lost
6
5                    revenue by reversing chargebacks in your favor” and
7
6
8                    “handl[ing] the entire chargeback dispute process on

9
7                    your behalf.” Ex. 257.
10
 8     27. Defendant USM Products, Inc. is or was a California corporation.
11
 9 USM Products, Inc. made bulk purchases of products and containers for the
12
13 common enterprise. Exs. 910 ¶ 194; 912 ¶ 194. USM Products, Inc. transacted
10
14
11 business in this district. Dkts. 244 ¶ 27; 245 ¶ 27.
15
12
16       28. Defendant Merchant Leverage Group, Inc. is or was a California

17 corporation. Merchant Leverage Group, Inc. transacted business in this district.
13
18
14 Dkts. 244 ¶ 28; 245 ¶ 28.
19
15
20       29. Defendant DMA Media Holdings, Inc. is or was a California

21
16 corporation located at the Van Nuys Office. Ex. 551, at 64:23-69:23. At times
22
17 material to the Complaint, DMA Media Holdings, Inc. advertised, marketed,
23
24 distributed, or sold the skincare products at issue in this case to consumers
18
25
19 throughout the United States. Ex. 550, at 19:19-21. DMA Media Holdings, Inc.
26
20
27
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1     transacted business in this district and throughout the United States. Dkts. 244 ¶
2
2     29; 245 ¶ 29.
3
3
4           30.      Defendant Shalita Holdings, Inc. is or was a California corporation.

5
4     At times material to the Complaint, Shalita Holdings, Inc. advertised, marketed,
6
5     distributed, or sold the skincare products at issue in this case to consumers
7
6
8     throughout the United States. Ex. 550, at 32:6-10. Shalita Holdings, Inc.

9
7     transacted business in this district. Dkts. 244 ¶ 30; 245 ¶ 30.
10
 8       31. Defendant All Star Beauty Products, Inc. is or was a California
11
 9 corporation with its place of business located at the Van Nuys Office. Ex. 551, at
12
13 64:23-70:9. At times material to the Complaint, All Star Beauty Products, Inc.
10
14
11 advertised, marketed, distributed, or sold the skincare products at issue in this case
15
16 to consumers throughout the United States. Ex. 550, at 71:11- 73:13. All Star
12

17 Beauty Products, Inc. transacted business in this district. Dkts. 244 ¶ 31; 245 ¶
13
18
14 31.
19
15
20      32.    Defendant Alon Nottea is or was a Chief Executive Officer (“CEO”)

21
16 of BunZai, a consultant for Media Urge, Inc., and an owner of Adageo, LLC. Dkt.
22
17 251 ¶ 32. At times material to the Complaint, acting alone or in concert with
23
24 others, he formulated, directed, controlled, had the authority to control, or
18
25
19 participated in the acts or practices set forth in the Complaint. See infra UF
26
20 #32(a), (b), (g), (h), and (i). Defendant Alon Nottea resides in this district and, in
27
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1     connection with the matters alleged herein, transacted business in this district.
2
2     Dkt. 251 ¶ 32.
3
3
4           a.       Alon Nottea was involved in the day-to-day operations of BunZaiEx.

5
4                    910 ¶ 18.
6
5           b.       Alon Nottea controlled or had authority to control the business
7
6
8                    operations of BunZaiEx. 910 ¶ 21.

9
7           c.       Alon Nottea used the alias “Jay Michaels.” Ex. 910 ¶ 202. GoDaddy
10
 8                   records show that the Shopper ID 26219179 is identified as Jay
11
 9
12                   Michaels. Ex. 598-5. GoDaddy records show that Shopper ID

13
10                   26219179 purchased and registered BunzaiMedia.com, AuraVie.com,
14
11                   AuraVieFreeTrial.com, MyMiracleKit.com, MiracleFaceKit.com,
15
12
16                   Dellure.com, and BuyDellure.com. Ex. 598-6,-7,-8,-9,-10.

17
13          d.       Alon Nottea solicited investments for Relief Defendant Chargeback
18
14                   Armor, Inc. Ex. 910 ¶ 234.
19
15
20          e.       Alon Nottea sent and received emails using the email accounts

21
16                   vigorect@gmail.com and alon@chargebackarmor.com. Exs. 910 ¶¶
22
17                   254-55; 917 ¶ 55.
23
18
24          f.       Alan Argaman stated that Alon Nottea also sent and received emails

25
19                   using the email account alon@securedmerchants.com. Exs. 916 ¶
26
20                   256; 918 ¶ 256.
27
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1           g.       Former employees testified that Alon Nottea owned or managed
2
2                    PinnacleExs. 554, at 11:7-9, 13:8-13, 29:17-19; 946, at 42:12-24.
3
3
4                   i.      Defendant Paul Medina testified that he thought of Pinnacle

5
4                           was “a department of Alon’s process” in selling AuraVie
6
5                           products. Ex. 946, at 42:19-42:24.
7
6
8           h.       Defendants Igor Latsanovski and CalEnergy, Inc. admitted that Alon

9
7                    Nottea had authority to control Focus Media Solutions, Inc. Exs. 914
10
 8                   ¶ 220; 915 ¶ 220.
11
 9
12          i.       Chargeback Armor, Inc. admitted that Alon Nottea provided advice

13
10                   and referred potential partners and clients to the company. Ex. 917 ¶
14
11                   231.
15
12
16          j.       Alon Nottea solicited investments for Corporate Defendants

17
13                   including BunZai, Focus Media Solutions, and Chargeback Armor
18
14                   from individuals including Defendant Igor Latsanovski. Ex. 552, at
19
15
20                   22:14-27, 36:13-19; See Ex. 552, at 31:5-32:3.

21
16          k.       Alon made decisions concerning the AuraVie common enterprise
22
17                   business model and organization.
23
18
24                          i. He made suggestions concerning whether to open or close

25
19                             shell corporations that functioned as “retail merchant
26
20                             corporations.” See e.g., Exs. 267.
27
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1                              ii. He discussed the enterprise’s business structure with
2
2                                 accounting and legal professionals and was apprised of the
3
3
4                                 opening of new companies in the common enterprise and

5
4                                 the relationship between them. Exs. 278; 483.
6
5                          iii. CPA David Davidian sent Alon incorporation and ancillary
7
6
8                                 related documents for Defendant Corporations that

9
7                                 Defendant Alon claims no ownership interest in. See, e.g.,
10
 8                                Exs. 299; 374; 481; 482; 505.
11
 9
12          l.       Alon Nottea hired and supervised employees at Corporate

13
10                   Defendants such as BunZai, Pinnacle, and Media Urge.
14
11                        i.      Employees he hired and managed included Andrew
15
12
16                                Stanley, Nastassia Yalley, and Defendant Paul Medina.

17
13                                Exs. 554, at 30:9-17; 556, at 13:22-24, 30:4-17; 946, at
18
14                                10:6-10:15.
19
15
20                       ii.      Alon Nottea supervised Paul Medina in his positions at

21
16                                Bunzai, Media Urge, and Focus Media Solutions. Ex. 946,
22
17                                at 9:19-10:15.
23
18
24
25
19
26
20
27
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1                       iii.   Both Paul Medina and Nastassia Yalley testified Alon
2
2                              Nottea had reassigned and supervised them at Media Urge.
3
3
4                              Ex. 556, at 113:21-22, 112:18-114:11, 115:16-115:21; 946,

5
4                              at 10:6-8.
6
5           m.       Alon Nottea procured new merchant accounts, oversaw merchant
7
6
8                    account load balancing, and recruited “merchant account guarantors”

9
7                    or “CEOs.”
10
 8                        i.   Alon Nottea recruited friends, family, and acquaintances to
11
 9
12                             serve as stand-in “owners” and “officers” for Defendants’

13
10                             shell corporations and to open new merchant accounts in
14
11                             their names for processing consumer charges. Exs. 262;
15
12
16                             268; 318; 474.

17
13                       ii.   When creating one merchant account, Alon noted “My
18
14                             credit is not the best right now, so we will be filing under
19
15
20                             my dad…” Ex. 474.

21
16                      iii.   Alon oversaw the performance of these entities and
22
17                             balanced their chargeback rates to ensure none raised a
23
18
24                             cautionary flag to payment processors. See, e.g., Exs. 294;

25
19                             319; Ex. 946, at 39:18-41:25; Ex. 946, at 60:16-61:5; Ex.
26
20                             946, at 74:3-74:7.
27
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1                       iv.     Paul Medina testified that Alon Nottea supervised Matan
2
2                               Reuveni, an employee who engaged in load balancing for
3
3
4                               the sale of AuraVie products. Ex. 946, at 60:16-61:5.

5
4                        v.     Paul Medina also testified that Alon Nottea told him not to
6
5                               permit particular merchant account’s chargeback
7
6
8                               percentages to exceed a certain point. Ex. 946, at 74:3-

9
7                               74:24.
10
 8          n.       Alon Nottea reviewed and assisted in drafting protocols, model
11
 9
12                   responses, and other correspondence concerning interactions with

13
10                   regulators. See Ex. 320.
14
11                         i.      He oversaw supervisors or employees who created the
15
12
16                                 protocols, model responses, or other correspondence.

17
13                                 See Ex. 555, at 78:13-22.
18
14          o.       Alon Nottea oversaw, supervised, or assisted in supervising
19
15
20                   accounting and bookkeeping for the common enterprise.

21
16                         i.      Alon was frequently updated by employees concerning
22
17                                 the common enterprise’s profits, losses, and consumer
23
18
24                                 chargebacks. For example, two employees, Paul Medina

25
19                                 and Nastassia Yalley, would periodically send him
26
20
27
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1                                  spreadsheets about the financial status of the Corporate
2
2                                  Defendants. See, e.g., Exs. 167; 304; 305; 307.
3
3
4                         ii.      Alon Nottea received reports from his employees and

5
4                                  third party financial institutions concerning the reserve
6
5                                  amounts held in the Corporate Defendants various
7
6
8                                  accounts and was actively involved in their negotiations.

9
7                                  Exs. 324, 339, 349, 430, 511, 351 (Alon Nottea email to
10
 8                                 Defendant Latsanovski and Paul Medina regarding
11
 9
12                                 reserve amounts required by AuraVie’s payment

13
10                                 processor)).
14
11                       iii.      Alon Nottea was apprised of even relatively small
15
12
16                                 financial concerns, and he would receive updates on the

17
13                                 same type of minutiae handled by employees such as
18
14                                 Nastassia Yalley. See, e.g., Exs. 303; 316.
19
15
20          p.       Alon Nottea oversaw advertising and marketing for the common

21
16                   enterprise.
22
17                         i.      Alon personally oversaw the development of creative
23
18
24                                 content and advertising for AuraVie and other products

25
19                                 marketed by the Defendant Corporations. Exs. 169, 185,
26
20                                 497.
27
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1                         ii.     Alon oversaw various marketing campaigns. Ex. 497.
2
2           q.       Alon Nottea supervised the customer service departments of the
3
3
4                    common enterprise.

5
4                          i.     Alon supervised, or assisted in supervising, the customer
6
5                                 service and call center departments at BunZai. See Ex.
7
6
8                                 143, 149, 184, and 455.

9
7                         ii.      Alon reviewed or assisted in the in drafting protocols or
10
 8                                model responses for responding to consumer calls,
11
 9
12                                complaints, and collections. See, e.g., Exs. 137; 143;

13
10                                312.
14
11          r.       Alon Nottea oversaw the registration and purchase of Internet
15
12
16                   domains for the common enterprise.

17
13                         i.     Alon Nottea identified which website names to purchase
18
14                                and either purchased them himself or instructed another
19
15
20                                person to do so. See, e.g., Ex. 120.

21
16                        ii.     Alon is listed as registrant, technical contact,
22
17                                administrative contact, and billing contact for the
23
18
24                                enterprise’s websites—websites (auravie.com,

25
19                                auraviefreetrial.com, auravietrialkit.com, and
26
20
27
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1                                 mymiraclekit.com) paid for by a business credit card in
2
2                                 his name. See Dkt. 6-3, at 3, 5-6, 8.
3
3
4                        iii.     Alon also used an admitted alias, Jay Michaels, to

5
4                                 register at least 65 domain names related to sale of the
6
5                                 AuraVie, LeOR, and Dellure skin care products. See
7
6
8                                 Dkt. 120, at 31, 43-44.

9
7           s.       The supervisors or employees of the chargebacks department at
10
 8                   BunZai reported to Alon concerning the department and its statistics.
11
 9
12                   See, e.g., Exs. 122-2; 131; 132; 146.

13
10                         i.     Alon Nottea received chargeback monitoring reports
14
11                                from Roi Reuveni, Andrew Stanley, and other
15
12
16                                employees of the Corporate Defendants. Exs. 86; 131;

17
13                                and 122-2.
18
14                        ii.     Meeting notes from a meeting led by Alon Nottea
19
15
20                                instructed Roi: “CHARGEBACK (same day you do load

21
16                                balancing).” Ex. 86.
22
17                       iii.      Paul Medina testified that Alon Nottea showed him
23
18
24                                charts or graphs pertaining to the companies’

25
19                                chargebacks that he was working on. Ex. 946, at 78:1-
26
20                                78:21.
27
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1                        iv.      Alon was actively involved in the load balancing his
2
2                                 employees would use to maintain the enterprise’s
3
3
4                                 merchant accounts. Exs. 94; 122.

5
4                         v.      Alon also discussed specific chargebacks or “winnings”
6
5                                 with employees in the chargeback department at BunZai
7
6
8                                 and Pinnacle. Ex. 60-2.

9
7           t.       Alon was aware that consumers were misled by his companies’
10
 8                   deceptive advertising.
11
 9
12                         i.     Alon Nottea researched the methods, strategies and

13
10                                technologies the enterprise used for combatting
14
11                                consumer chargebacks. For example, he reviewed a
15
12
16                                management and consulting plan with Gary Bhasin that

17
13                                included chargeback analysis for the common enterprise.
18
14                                See Ex. 385. Further, he met with a third party company
19
15
20                                to discuss the possibility of utilizing a chargeback

21
16                                “intercept” program for AuraVie. See Ex. 62.
22
17                        ii.     On several occasions, he was notified concerning the
23
18
24                                high-risk status or high chargeback rate of the common

25
19                                enterprise by financial institutions. Ex. 309.
26
20
27
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1                        iii.     Alon acknowledged that he maintained merchant
2
2                                 accounts that were “in jeopardy.” Ex. 428.
3
3
4                        iv.      Alon Nottea was apprised by the Better Business Bureau

5
4                                 of the ways his advertising failed to adequately or
6
5                                 accurately disclose its material terms to consumers. Ex.
7
6
8                                 592.

9
7                         v.       He received notice concerning penalties assessed
10
 8                                against his companies’ merchant accounts for
11
 9
12                                chargebacks, as well as notices concerning possible

13
10                                suspension of his merchant accounts due to chargebacks.
14
11                                Ex. 102.
15
12
16                       vi.      He was notified by business acquaintances concerning

17
13                                FTC enforcement actions for similar deceptive conduct.
18
14                                Ex. 592.
19
15
20                       vii.     He received correspondence concerning AuraVie

21
16                                complaints on “ripoffreport.com.” Ex. 93.
22
17          u.       Nastassia Yalley testified that the following statements from a
23
18
24                   meeting between her, Defendants Alon Nottea, Paul Medina, and Roi

25
19                   Reveuni, were made by Alon Nottea:
26
20
27
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1                          i.     “I’m going to get a guy. He's going to sit. He’s going to
                                  get a very, very—I know in advance he's going to have a
2
2                                 very, very, very, very low contact ratio. He’s going to
3                                 talk to 700 people. But I’m going to call back my
3
4                                 chargebacks. I’m going to talk to them. I'm going to say
                                  we are a third party company hired by BunZai Media, or
5
4                                 by the company who sold you AuraVie, to figure out
6                                 what they did wrong. What did they do wrong? Why did
5                                 they charge them back? Did you call? Did you try to
7                                 call? Was the cancellation wrong? Did they fuck you?
6
8                                 Did you feel misled? Did you feel like you’re an idiot?
                                  Do you like that? Yeah. Yeah. Very low contact ratio.
9
7                                 But out of the thousand people you’ll talk to, out of the
10                                10,000 phone calls you make, you'll know if you
 8                                document it and it’s documented and you have reports
11                                back from them. And the FTC comes to me, I'm telling
 9
12                                them, listen, I'm calling back my chargebacks and see
                                  what I did wrong? Do you know how that looks?
13
10                                Number 1, I'm really... and Number 2, I’m being
14                                proactive... we're going to call all of our chargebacks,
11                                and say we are a third party.” Ex. 556, at 51:16-54:19.
15
12
16                        ii.     “We’re not getting a check box. When the consumer
                                  gets the product at home, the packing slip, it can be a
17
13                                little bit grayed out. It doesn’t have to be huge. You can
18                                make the ‘for Customer Service inquiries and questions,
14                                call 1-800’ big, and below that, the terms.” Ex. 556, at
19                                96:11-97:6.
15
20
                         iii.     “This calls for another 10 minute meeting for that, just
21
16                                make it, in the chargeback meeting let's talk about this
22                                particular details, how to do a test between 500 and
17                                1,000 customers that get the terms. It's a complete
23                                different world when the woman—when you can prove
18
24                                to the bank that the terms and conditions are on the
                                  invoice...no, the only thing...I know we crashed and
25
19                                burned when we tested it before, but somehow
26                                Rappoport is doing it and getting through with it.” Ex.
20                                556, at 98-101:13.
27
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1
                         iv.      “Rappoport is also sending an email when you’re getting
2
2                                 billed. Okay. He’s sending this email. I know we can do
3                                 it. Yeah. I’m just saying I don't see how he was
3
4                                 surviving doing that.” Ex. 556, at 102:24-103:7.

5
4                         v.      “One more note...We must try 500 orders with the terms
6                                 and conditions on the invoice for customers. It’s
5                                 completely illegal to not have that there, at least.” Ex.
7                                 556, at 95:7-95:22.
6
8
                         vi.      “...if you send them the terms, it can act like...we told
9
7                                 you that we’re going to charge...we notified you... you
10                                have ten days. Exactly. But when me and Paul tried it a
 8                                year ago, it didn'tdidn’t work so good. It hurted us...If
11                                it’s done creatively, if it's done correctly and
 9
12                                optimized...not just try, it didn't work. Let’s see what
                                  Jeff is doing because it’s working for him.” Ex. 556, at
13
10                                101:15-103:4.
14
11                       vii.     “So what is it for? To reduce chargebacks or to... stay
15                                compliant? Stay compliant and to tell the woman on the
12
16                                phone... it’s another piece that we can actually use to
                                  fight chargebacks. It's going to help Sabina, it's going to
17
13                                help us be compliant, it’s going to shut the fucking
18                                customer up, but it might hurt your numbers.” Ex. 556,
14                                at 101:15-103:4.
19
15
20          33.      Defendant Motti Nottea resides in this district and he held a

21
16 merchant account in his name for BunZai. Dkt. 245 ¶ 33
22
17       34. Defendant Doron Nottea is or has been a manager at BunZaiand
23
24 PinnacleDefendant Doron Nottea resides in this district and, in connection with
18
25
19 the matters alleged herein, transacted business in this district and throughout the
26
20 United States. Dkt. 244 ¶ 34.
27
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1           a.       Doron Nottea possessed a book of credit cards and signed blank
2
2                    checks for Zen Mobile Media, Inc. Dkt. 120, at 32, 40.
3
3
4           b.       Alon Nottea, Roi Reuveni, and Motti Nottea, Igor Latsanovski,

5
4                    CalEnergy Inc., and Chargeback Armor, Inc. stated that Doron
6
5                    Nottea sent and received emails using the email account
7
6
8                    dornon@doron.us. Exs. 910 ¶ 257; 911¶ 257; 913 ¶ 257; 914 ¶ 257;

9
7                    915¶ 257; 917 ¶ 257.
10
 8                         i.     Doron Nottea sent and received emails from the email
11
 9
12                                address globalmediausa@gmail.com. Exs. 942; 943; 52.

13
10                        ii.     Doron Nottea sent and received email from the email
14
11                                address xposedinc@gmail.com. Ex. 551, at 109:15-
15
12
16                                109:22.

17
13          c.       Chargeback Armor, Inc. admitted that Doron Nottea sent and
18
14                   received messages using the Skype account name Accounting818.
19
15
20                   Ex. 917 ¶ 258.

21
16          d.       Doron Nottea owned Corporate Defendants that participated in the
22
17                   common enterprise.
23
18
24                         i.     Andrew Stanley, a former employee of both BunZai and

25
19                                Pinnacle, testified that Doron Nottea held himself out as
26
20
27
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1                                 the owner of both BunZai and Pinnacle Ex. 554, at
2
2                                 65:20-66:7; 86:17-87-7; see also Exs. 35; 43; 544.
3
3
4                         ii.     An individual emails Doron Nottea “want[ing] to sell

5
4                                 cosmetics on [Nottea’s] distribution channel.” Ex. 35.
6
5                        iii.     Stephan Bauer appeared to inform Nottea that he can use
7
6
8                                 SBM Management, Inc. for Nottea’s marketing “hard

9
7                                 core online trial and offers biz.” Ex. 43.
10
 8                       iv.      Alon Nottea emails Doron Nottea profit spreadsheet of
11
 9
12                                BunZai and states they need to go through it together.

13
10                                Ex. 518.
14
11                        v.      Doron Nottea provided and received payroll reports for
15
12
16                                Bunzai. Ex. 544.

17
13                       vi.      Doron Nottea was apprised of incorporation documents
18
14                                relating to both BunZai and Pinnacle. See Exs. 299; 343.
19
15
20                       vii.     Doron Nottea was apprised of incorporation documents

21
16                                for other Corporate Defendants as well. Exs. 41; 374;
22
17                                505.
23
18
24                      viii.     In initial structuring decisions relating to the common

25
19                                enterprise, Doron Nottea was directly involved with
26
20
27
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1                                 Alon Nottea and Kristopher Bond in determining the
2
2                                 enterprise’s needs. Ex. 483.
3
3
4                        ix.      David Davidian emailed Alon Nottea, Doron Nottea,

5
4                                 and Kristopher Bond regarding further consultations in
6
5                                 structuring the enterprise. Ex. 483.
7
6
8                         x.      Doron Nottea co-owned Secured Commerce LLC with

9
7                                 Alan Argaman. See Dkt. #120, at 8.
10
 8          e.       Doron Nottea managed employees of the common enterprise.
11
 9
12                         i.     Leor Arazy, human resources manager for Pinnacle and

13
10                                BunZai, included Doron Nottea on an email sending out
14
11                                a salary report by department for Pinnacle. Ex. 38.
15
12
16                        ii.     Leor Arazy sent Doron Nottea the company’s paycheck

17
13                                advance policy and requests that he let her know if he
18
14                                wants any changes. Ex. 84
19
15
20                       iii.     Doron Nottea received payroll information for

21
16                                Corporate Defendants. Exs. 345; 346; 353.
22
17                       iv.      Doron Nottea sent “new employee” information for shell
23
18
24                                corporations to CPA David Davidian. Ex. 433.

25
19                        v.      Defendant Paul Medina testified in his deposition that he
26
20                                reported to Doron’s employees or assistants for anything
27
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1                                 financially related for the various Corporate Defendants.
2
2                                 Ex. 946, at 28:6-28:13; Ex. 946, at 27:8-27:21.
3
3
4                        vi.      Paul Medina emailed Doron Nottea a list of current

5
4                                 merchant accounts selling AuraVie. See Ex. 384
6
5                        vii.     Former employees Nastassia Yalley and Philip
7
6
8                                 Camerino were Doron’s “assistants.” Ex. 946, at 27:8-

9
7                                 27:21.
10
 8                      viii.     Defendant Medina also provided Defendant Doron
11
 9
12                                Nottea with commission calculations to payment the

13
10                                straw “owners” of the various Corporate Defendants,
14
11                                who were paid. Exs. 946, at 44:10-20; 166.
15
12
16                       ix.      Nastassia emailed Defendants Doron Nottea and Paul

17
13                                Medina a list of merchant accounts associated with
18
14                                BunZai. Ex. 546.
19
15
20          f.       Defendant Alon Nottea also kept Doron apprised of day-to-day

21
16                   higher level issues concerning the enterprise. This included:
22
17                         i.      Meetings and discussions relating to negotiating
23
18
24                                Canadian shipping rates sent to Doron’s email,

25
19                                xposedinc@gmail.com. Ex. 174.
26
20
27
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1                         ii.     Discussions relating to resolving IRS audits and
2
2                                 workers’ compensation audits . Exs. 350; 376.
3
3
4                        iii.      Operationally, Alon Nottea placed Doron Nottea in

5
4                                 charge of many aspects of managing the Indian call
6
5                                 centers associated with the scheme, telling his Indian
7
6
8                                 counterpart that “Doron will manage the corporation and

9
7                                 DBA Setup as well as accounting, disbursement of funds
10
 8                                back to India.” Ex. 579.
11
 9
12                       iv.      Doron forwarded contractual agreements such as the

13
10                                confidentiality agreements required to start negotiations
14
11                                for third party services. Ex. 271.
15
12
16                        v.      Doron even managed basic documentation such as

17
13                                insurance documents relating to minor advertising
18
14                                engagements with third parties. Ex. 308.
19
15
20                       vi.      Doron received emailed about renewing P.O. Box

21
16                                relating to Dellure. Ex. 333.
22
17          g.       Despite attempting to keep Alon Nottea and his own name off
23
18
24                   financial management records, evidence makes clear Doron Nottea

25
19                   managed or controlled numerous accounts associated with the
26
20                   common enterprise, including either making payments or providing
27
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1                    permission to make payments on behalf of several of the entities.
2
2                    Exs. 466; 485; see also, e.g., Exs. 292, 294, 296. 479 (setting up wire
3
3
4                    transfers), 488.

5
4                          i.     Doron adamantly instructed that “All invoices only to
6
5                                 accounting@pinlogistics.com never to me !” Ex. 466.
7
6
8                         ii.      Doron instructed an individual “please DON’T write

9
7                                 Alon’s Name on it” regarding a check from shell
10
 8                                company Agoa Holdings. Ex. 485.
11
 9
12                       iii.     Doron was responsible for arranging wire transfers

13
10                                relating to the common enterprise. Ex. 497.
14
11                       iv.      Numerous “books” each holding dozens of credit cards
15
12
16                                were found in Doron’s possession, located in his office,

17
13                                as well as deposit stamps for more than 18 entities. Dkt.
18
14                                #120, at 13, 70-71, 74.
19
15
20                        v.      Books of deposit slips or checks for at least 35 entities

21
16                                were also located in Doron’s office. Dkt.#120, at 13.
22
17                       vi.      He also kept RSA devices used to make electronic funds
23
18
24                                transfers for at least eight bank accounts. Dkt.#120, at

25
19                                13.
26
20
27
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1                        vii.     Doron Nottea maintained personal information including
2
2                                 copies of other Individual Defendants’ driver licenses
3
3
4                                 and signature block for using new bank accounts, as

5
4                                 well as access to and used blank pre-signed checks for
6
5                                 numerous Corporate Defendants. Ex. 536; see also, e.g,
7
6
8                                 Exs. 49; 437.

9
7                       viii.     Doron Nottea possessed blank, pre-signed checks for
10
 8                                CalEnergy, Inc. in his office. Dkt. 120, at 13; see also
11
 9
12                                Ex. 49.

13
10                       ix.      Former employee Andrew Stanley, whose work for
14
11                                several years consisted of responding to chargebacks for
15
12
16                                the common enterprise, stated that Doron Nottea

17
13                                controlled and oversaw many merchant accounts
18
14                                associated with BunZai, including reviewing complex
19
15
20                                issues such as reserve rates relating to such merchant

21
16                                accounts. Exs. 173; 349; 430; see Ex. 554, at 86:17-
22
17                                87:7.
23
18
24                        x.      Doron opened, managed, and controlled the merchant

25
19                                accounts and other financial accounts used by the
26
20                                common enterprise, and was even apprised of
27
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1                                  negotiations with potential payment processors by his
2
2                                  brother, Alon. Exs. 64; 78; 88; 167; 383; 467.
3
3
4                        xi.       Doron requested that Yalley send him a list of “all our

5
4                                  merchant accounts”; Yalley replied with a spreadsheet
6
5                                  of all the merchant accounts used by the AuraVie
7
6
8                                  companies. Ex. 78.

9
7                        xii.      Yalley provided Doron, Alon, and Paul with accounting
10
 8                                 spreadsheets for the AuraVie businesses. Ex. 167.
11
 9
12                      xiii.      Defendant Latsanovski requested that Nottea make a

13
10                                 payment to an Israeli bank account from SBM
14
11                                 Management’s bank account. Ex. 64.
15
12
16                      xiv.       Yalley sent Doron login information concerning

17
13                                 accessing payments made to AuraVie.com. Ex. 88.
18
14          h.       Doron handled accounting or bookkeeping for the common
19
15
20                   enterprise.

21
16                         i.      Doron oversaw the finances of the common enterprise,
22
17                                 calculating the companies’ profits and losses and
23
18
24                                 managing the enterprise’s various entities and merchant

25
19                                 accounts. See Exs. 21; 46; 47; 51; 52; 58; 59; 335; 337;
26
20
27
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1                                 338; 339; 340; 391; 392; 393; 399; 405; 406; 407; 408;
2
2                                 409; 946, at 36:8-36:11.
3
3
4                         ii.     Defendant Latsanovski openly discussed Doron’s

5
4                                 “department” in the company he runs with Alon Nottea.
6
5                                 Ex. 21.
7
6
8                        iii.     Yalley referenced Doron instructing her which toll-free

9
7                                 numbers to leave open. Ex. 47.
10
 8                       iv.      Alon forwarded Doron an email concerning skincare
11
 9
12                                merchant accounts with EVO and UMS. Ex. 52.

13
10                        v.      An invoice from Secured Commerce to Adageo for the
14
11                                AuraVie landing page shows Doron was involved in the
15
12
16                                common enterprise’s landing page’s creation. Ex. 46.

17
13                       vi.      Doron sent Alon what appears to be an affiliate’s
18
14                                “advertorial” concerning AuraVie. Ex. 51.
19
15
20                       vii.     (intentionally left blank)

21
16                      viii.     Paul Medina requested approval from Doron and
22
17                                Defendant Alan Argaman to switch one of the Limelight
23
18
24                                accounts over to Secured Merchants LLC, a company

25
19                                purportedly owned solely by Alan Argaman. Limelight
26
20
27
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1                                 is the CRM software used for managing the continuity
2
2                                 sales aspect of the enterprise. Ex. 59.
3
3
4                        ix.      Medina testified he believed Doron Nottea was in

5
4                                 charge of accounting for the AuraVie companies. Ex.
6
5                                 946, at 36:8-36:11.
7
6
8                         x.      Davidian emailed Doron Nottea the IRS Form W2 for

9
7                                 several AuraVie companies. Ex. 338.
10
 8                       xi.      Alon Nottea testified that he asked Doron Nottea to
11
 9
12                                assist him with accounting for the common enterprise

13
10                                and to supervise Nastassia’s accounting work for the
14
11                                Corporate Defendants. Ex. 550, at 136:20-138-20,
15
12
16                                139:24-140:12.

17
13                       xii.     Defendant Medina also provided Doron Nottea with
18
14                                information concerning the 1% “commission” payouts—
19
15
20                                the payments made to the figureheads of the various

21
16                                shell companies for permitting their names to be used to
22
17                                open the accounts—among other financial information
23
18
24                                for the enterprise. See also Exs. 32; 45; 166; Ex. 946, at

25
19                                44:10-45:15.
26
20
27
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1                       xiii.     Paul Medina provided Doron Nottea with commission
2
2                                 calculations. Ex. 166.
3
3
4                       xiv.      Paul Medina sent Alon and Doron Nottea a spreadsheet

5
4                                 called “US Rebill Die Down.xlsx,” which appears to
6
5                                 concern the revised expenses for the AuraVie common
7
6
8                                 enterprise as they wound down operations in the United

9
7                                 States. Ex. 45.
10
 8                       xv.      Former employee Nastassia Yalley provided monthly
11
 9
12                                “breakdowns” of accounting and expenses for the

13
10                                Corporate Defendants to Doron. See, e.g., Ex. 82; 167;
14
11                                542; 543; 556, at 33:23-34:1.
15
12
16                      xvi.      Doron admitted to active involvement in the

17
13                                bookkeeping of nearly all Corporate Defendants. This
18
14                                list includes: Pinnacle, Ex. 551, at 17:3-17:5; DSA
19
15
20                                Holdings, Inc., Ex. 551, at 17:9-17:11; DMA Media

21
16                                Holdings, Inc., Ex. 551, at 60:14-60:18; SBM
22
17                                Management, Inc., Ex. 551, at 53:9-53:14; Kai Media,
23
18
24                                Inc., Ex. 551, at 56:21-56:23; Lifestyle Media Brands,

25
19                                Inc., Ex. 551, at 44:13-44:15; Agoa Holdings, Inc., Ex.
26
20                                551, at 49:3-49:7; Zen Mobile Media, Inc., Ex. 551, at
27
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1                                 50:17-50:19; Heritage Alliance Group, Inc., Ex. 551, at
2
2                                 52:12-52:14; Safehaven Ventures, Inc., Ex. 551, at
3
3
4                                 51:16-51:20; Insight Media, Inc., Ex. 551, at 58:7-58:11;

5
4                                 Secured Merchants, LLC, Ex. 551, at 58:23-59:9;
6
5                                 Shalita Holdings, Inc., Ex. 551, at 61:2-61:4; Allstar
7
6
8                                 Beauty Products, Inc., Ex. 551, at 61:13-61:17; USM

9
7                                 Products, Inc., Ex. 551, at 68:20-68:25;
10
 8                     xvii.      Chargeback Armor, Inc. admitted that Doron Nottea
11
 9
12                                performed bookkeeping work for Focus Media

13
10                                Solutions, Inc. Ex. 917 ¶ 221.
14
11                     xviii.     Doron Nottea was one of the individuals authorized to
15
12
16                                receive mail for Chargeback Armor, Inc. Ex. 365-13.

17
13          i.       Doron Nottea managed the Common Enterprise employees and
18
14                   controlled its business.
19
15
20                         i.     Doron Nottea met with an individual to discuss his

21
16                                management plan for the AuraVie business, which
22
17                                included ways to reduce his companies’ chargeback
23
18
24                                levels. Exs. 29; 385.

25
19                        ii.     Emails show that Doron corresponded with a certified
26
20                                public accountant about incorporating various Corporate
27
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1                                 Defendants and overseeing the initial financials of these
2
2                                 corporations. See Exs. 553, 299, 302, 343, 364.
3
3
4                        iii.     Doron Nottea and the CPA David Davidian discussed

5
4                                 corporate filings, including DSA Holdings, Inc. Ex. 41.
6
5                        iv.      Doron was provided invoices for “new corporations”
7
6
8                                 including SBM Management, Inc. and CalEnergy, Inc.

9
7                                 Ex. 397.
10
 8                        v.      Doron also coordinated the stand-in owners of various
11
 9
12                                shell corporations involved in the enterprise, providing

13
10                                personal information of each individual so that their
14
11                                identities could be used in the incorporation process. Ex.
15
12
16                                484.

17
13                       vi.      Alon Nottea forwarded Doron, as well as Paul Medina
18
14                                and Igor Latsanovski, an email in which Alon informed
19
15
20                                UMS Bank they intended to wind up their sale of

21
16                                AuraVie products in part due to FTC and credit card
22
17                                regulations. Ex. 60.
23
18
24                       vii.     Alon Nottea forwarded Doron an email concerning skin

25
19                                care merchant accounts approved by a payment
26
20                                processing entity. Ex. 329.
27
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1                       viii.      David Midgal emailed Doron asking “what you want me
2
2                                  to do” concerning “a new PO Box (address) for
3
3
4                                  Dellure”—one of the common enterprise’s products. Ex.

5
4                                  331-1.
6
5           j.       Doron Nottea sent a text message from his phone (XXX) XXX-9999
7
6
8                    to his email address, xposed@gmail.com, in which he states:

9
7                        Our volume is down to about 350 (100 from lifescript
10                       + 250 from un-compliant survey traffic per day...)
 8                       And even that is a miracle since we can no longer use
11                       advertorials for now ... As the lady (pam bondi) in
 9
12                       the Florida Atty. Gen. is reviewing every single
                         continuity skincare and diet advertisers in the
13
10                       industry... We are waiting for some more industry
14                       news to be released in order to make an executive
11                       decision on whether or not to run blogs again...
15                       Nevertheless, dawn’s and Nancy’s attorney is
12
16                       pushing hard ... threatening to file against all
                         corporations and people involved, this creates a very
17
13                       big exposure and risk to our entire entities...
18                       Especially now that Nastassia is gone, they will have
14                       access to much more personal, private and sensitive
19                       information. This is very concerning, and very
15
20                       risky... If you are not willing to let your attorney
                         speak to their attorney, I will half to engage in a non-
21
16                       formal potential settlement meeting in order to avoid
22                       the exposure... This also creates additional exposure
17                       for pinnacle logistics as Dawn and Nancy are
23                       probably still in touch with some current and former
18
24                       employees... Thereby moving the exposure to
                         pinnacle employees as well ... We don’t want the
25
19                       word out that every single employee Can go after us
26                       because we are in the business of settling false
20                       demands ... Additionally, Joyce Gaines from UMS
27
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1                        contacted me With respect to the level of reserves
                         they are holding, they have had a few merchants
2
2                        funds frozen by the FTC previously... And she is
3                        concerned due to the high-risk nature of our business
3
4                        model, she would like to hold additional reserves
                         which means more of a lack of income to the
5
4                        company...
6
5                    Ex. 330. See also Ex. 941 (Doron Nottea provides sworn
7
6
8                    statement concerning his phone number (XXX) XXX-

9
7                    9999); Ex. 551, at 109:15-109:22 (Doron Nottea
10
 8                   confirms his email address, xposedinc@gmail.com).
11
 9
12
            35.       Defendant Oz Mizrahi is or was the CEO of Pinnacle and resides in
13
10
14 this district. Dkt. 245 ¶ 35.
11
15        36.      Defendant Igor Latsanovski resides in this district and, in
12
16
   connection with the matters alleged herein, transacted business in this district.
17
13
18 Dkt. 253 ¶ 36.
14
19       a.    Doron Nottea and Motti Nottea stated that Igor Latsanovski was an
15
20
               owner of BunZai, and CEO of Zen Mobile Media Group, Inc. Dkts.
21
16
22             244 ¶ 36; 245 ¶ 36.
17
23       b.    Partnership agreements show Igor Latsanovski was an owner of
18
24
               BunZaiEx. 18-2.
25
19
26
20
27
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1           c.       Defendant Medina, an employee of BunZai, also believed
2
2                    Latsanovski owned BunZai. Ex. 946, at 29:10-29:12.
3
3
4           d.       A former employee of BunZai, testified that Igor Latsanovski

5
4                    received and reviewed monthly accounting reports for BunZaiEx.
6
5                    556, at 34:2-4; 34:20-35:7.
7
6
8           e.       The website for Igor’s personal company, Defendant CalEnergy,

9
7                    reflected that CalEnergy was the parent company of both Defendants
10
 8                   Media Urge and Pinnacle. Dkt. 908.
11
 9
12                         i.     CalEnergy’s internal organizational chart—which

13
10                                Latsanovski reviewed—confirms that Latsanovski
14
11                                supervised and managed Media Urge and Pinnacle. See
15
12
16                                Exs.561-3; 588-1, -9.

17
13                        ii.     Igor is listed as the “President” of Calenergy, Inc., who
18
14                                supervised (1) Defendant Reuveni, who himself
19
15
20                                managed Pinnacle, and (2) Philip Camerino, who

21
16                                himself managed “MediUrge,” a misspelling of
22
17                                Defendant Media Urge. Ex. 561; 561-3; 588-9.
23
18
24                   f. Latsanovski previously swore under oath that BunZai was his

25
19                       employer. See Ex. 949.
26
20
27
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1                    g. A BunZai Form W-2 listed Defendant Latsanovski as an
2
2                        employee. Ex.402-8.
3
3
4                    h. In a letter to the United States Citizenship and Immigration

5
4                        Services describing his job responsibilities at CalEnergy,
6
5                        Latsanovski represented that he was involved in “reviewing the
7
6
8                        activities and providing guidance to managed companies.” Ex.

9
7                        571-2.
10
 8                         i.     In this letter he stated that he would meet with the
11
 9
12                                company’s presidents and employees, including

13
10                                “manager Roi Reuveni to review activities of the
14
11                                managed call center Pinnacle (including AuraVie,
15
12
16                                Dellure and Attitude . . .)” See Ex. 571-2, -3.

17
13                   i. Latsanovski was personally involved in managing the enterprise
18
14                       on a day-to-day level.
19
15
20                         i.     Latsanovski sent a revised profit and loss spreadsheet

21
16                                containing sales and chargeback information for the
22
17                                common enterprise. Ex. 503.
23
18
24                        ii.     Latsanovski participated in discussions concerning

25
19                                international merchant accounts. See Ex. 319.
26
20
27
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1                        iii.     Latsanovski participated in meetings or conference calls
2
2                                 with payment processors. See Ex. 329.
3
3
4                        iv.      Latsanovski was asked to proofread advertising to be

5
4                                 used by Defendants overseas and assisted in
6
5                                 coordinating the marketing campaign. Exs. 564; see Ex.
7
6
8                                 559.

9
7                         v.      Latsanovski was apprised of low-level contractual
10
 8                                disputes relating to the advertising. See Exs. 48.
11
 9
12                       vi.       Latsanovski assisted Defendants in transferring funds

13
10                                overseas for safekeeping, including possibly to a Cyprus
14
11                                trust. See Exs. 55; 450; 470.
15
12
16                       vii.     He provided Defendants with blank, pre-signed checks

17
13                                to allow Defendants to operate the company. Dkt. 120,
18
14                                at 9, 35, 36.
19
15
20                      viii.     Among those Corporate Defendants, CalEnergy

21
16                                transferred funds to Latsanovski and a company he
22
17                                owns. Dkt. 120, at 69.
23
18
24                       ix.      Defendant Medina testified that Latsanovski was present

25
19                                at the common enterprise’s place of business multiple
26
20
27
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1                                 days each month from 2010 until 2014. Ex. 946, at
2
2                                 28:17-29:3.
3
3
4                    j. Latsanovski participated in or controlled companies in addition to

5
4                        Pinnacle, including ones that he had no ownership interest in.
6
5                          i.      Latsanovski ordered Doron to issue a payment to an
7
6
8                                 Israeli bank account using funds from SBM

9
7                                 Management, Inc., a company purportedly owned and
10
 8                                operated by Stephan Bauer. Ex. 64.
11
 9
12                   k. An email shows Igor making business decisions concerning

13
10                       operational aspects of companies within the common enterprise.
14
11                       These discussions include employee staffing decisions and how to
15
12
16                       manage the business’s needs for areas such as “plants and Call-

17
13                       centers” while leaving higher level “intellectual labor” to Alon
18
14                       Nottea and himself. Ex. 21.
19
15
20                   l. Latsanovski discussed and reviewed sales with employees.

21
16                         i.     Former employee Yalley stated that Latsanovski would
22
17                                sit down next to her and review profit and loss
23
18
24                                statements for the enterprise. Exh. 556, at 34:2-4; 34:20-

25
19                                35:7.
26
20
27
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1                         ii.     Defendant Medina testified that he would have
2
2                                 discussions concerning sales and affiliates with him. Ex.
3
3
4                                 946, at 30:4-30:13.

5
4                        iii.     Paul Medina testified that he overhead Igor Latsanovski
6
5                                 discussing chargebacks with Defendant Paul Medina.
7
6
8                                 Ex. 946, at 31:16-32:3

9
7                    m. Latsanovski was included on emails with links to the companies’
10
 8                       advertisements and emails discussing issues with chargebacks and
11
 9
12                       compliance.

13
10                         i.     Latsanovski received an email concerning excess
14
11                                chargeback programs and the enterprise’s excessive
15
12
16                                chargeback rates. Ex.562.

17
13                        ii.     Latsanovski received emails discussing high-risk
18
14                                merchant accounts. Exs. 235; 444; 445.
19
15
20                       iii.     Latsanovski received an email discussing load balancing

21
16                                to maintain merchant accounts for the enterprise. Ex.
22
17                                565.
23
18
24                       iv.      Latsanovski received emails containing links to

25
19                                Defendants’ deceptive risk-free trial websites. Ex. 28.
26
20
27
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1           n.       Latsanovski requested information concerning the common
2
2                    enterprise’s chargeback rates and merchant reserve. Ex. 549.
3
3
4           o.       Latsanovski incorporated Zen Mobile Media, Inc., one of the shell

5
4                    companies used by Defendants to process consumer payments for
6
5                    Defendants’ risk-free trials. Ex. 904-23.
7
6
8           p.       Latsanovski provided loans to Corporate Defendants in the common

9
7                    enterprise for the AuraVie business. Ex. 552, at 22:14-21, 23:11-
10
 8                   24:21, 27:5-13, 36:13-37:13, 52:5-53:8, 60:5-12, 69:21-70:2.
11
 9
12          q.       Latsanovski sent an “opinion” email regarding the future of Pinnacle

13
10                   and the common enterprise. Ex. 21. In this email, Latsanovski states:
14
11                         i.     “And I feel (although it is not objectively) that we want
15                                to keep Pinicle . I'll tell you my reasons and point out
12
16                                the pros and cons. We want to grow and already we
                                  have Product company in the U.S. business-marketing,
17
13                                security-merchant, merchant-VastPay, and more will be
18                                opening: the Product company in England, Brazil, itc,
14                                merchant- Europe and so on. That is, we must focus all
19                                our resources on that.” Ex. 21.
15
20                        ii.     “Money, knowledge and people, I'm talking about the
                                  Directors, the people who can not just perform, but also
21
16                                to make decisions and in addition whom we trust and
22                                know their capabilities. . . .Who we have: You, Paul,
17                                Roy, Andre and David and me a little, that's all! Doron
23                                has his department. You have to be on top of all, we
18
24                                understand!, . . . David is a good helper, but he has no
                                  power to make decisions and you always have to solve
25
19                                them for him, he’s very good assistant, but assistant.
26                                Maybe with time and next to someone, he will be able to
20                                learn how to lead. I would recommend Roy as head of
27
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1                               the Product company ,near him would have put David,
                                and maybe next to Roy and under your leadership David
2
2                                will grow. Roy is Sergeant and will be able to perform
3                               your tasks well in the distance. Andre good helper, too,
3
4                               but we still have a lot of different directions. And I
                                would not want to so we are constantly thinking about
5
4                               how to download the work of our factory -Pinicle .” Ex.
6                               21
5                       iii.    . I want us to think, and concentrated our efforts on the
7                               opening of new businesses and the further management
6
8                               (without the presence of fixed assets) and thus used
                                outsorsing. Do not tie their hands obligations to the large
9
7                               number of low-skilled workers. Let’s work with fewer
10                              people, but with highly qualified people. Yes we lose in
 8                              quality, but we'll take with a lot of things: 1-
11                              responsibility to the large number of people, and that's a
 9
12                              lot. after all people is a problem, dividing the
                                information can give us testimony in court, or just come
13
10                              up with these statements and show to us, and so on. 2 -
14                              we remove ourselves from the constant expenditure and
11                              translate these costs by the number of products sold. Let
15                              those who can not make Intelligent business, own and
12
16                              operate plants and Call-centers, and we will deal with
                                intellectual labor. And we will not get nervous and
17
13                              worry about how to make money for the factory when
18                              we transition point occurs in the business. And we are in
14                              a quiet mode to create new products. And then as it is
19                              now in emergency mode are buying goods, and all for
15
20                              what, to support our factory -Call-center ! 3 - we have to
                                 use ours, unfortunately, are not big human resources for
21
16                              development, rather than plant control. 4 - remove some
22                              legal risk to other companies that will serve us.
17                      iv.     I just want to give you a look at our entire company,
23                              with my eyes, maybe it will give you something.
18
24                       v.     Latsanovski signs the email “Your sincere partner Igor.”
                                Ex 21.
25
19          37.      Defendant Roi Reuveni is or has been an employee of BunZai Media
26
20
27
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1     Group, Inc. and an officer and manager of PinnacleEx. 553, at 18:21-19:6; 911-16
2
2     ¶¶ 106-08. He was a manager of the customer service, call center, and
3
3
4     chargebacks departments at Defendant PinnacleEx. 911-16 ¶¶ 107-08, 911-31¶

5
4     207. Further, he was an officer or director of Agoa Holdings, Inc. Ex. 911-37 ¶
6
5     245; Dkt. 250 ¶ 37. Defendant Roi Reuveni resides in this district. Dkt. 250 ¶ 37.
7
6
8           a.       Roi Reuveni was a president for DMA Media Holdings, Inc. Ex. 911-

9
7                    37 ¶ 244.
10
 8                         i.     DMA Media Holdings was another “retail merchant
11
 9
12                                corporation” or shell entity that processed payments for

13
10                                AuraVie sales. Ex. 553 at 73:11-74:14.
14
11          b.       Chargeback Armor, Inc. stated that Roi Reuveni was the COO of
15
12
16                   Chargeback Armor, Inc. Ex. 917-66 ¶ 237.

17
13                         i.     Reuveni’s email signature indicated that he was COO of
18
14                                Chargeback Armor, Inc. Ex. 290.
19
15
20          c.       Roi Reuveni admitted that since at least January 2010, he controlled

21
16                   or had the authority to control PinnacleExs. 911-16 ¶ 110; see also
22
17                   910-15 ¶ 110; 912-27 ¶ 110.
23
18
24          d.       Roi Reuveni admitted that he received compensation from CalEnergy

25
19                   Inc. Ex. 911-37 ¶ 246; see also Exs. 914-53 ¶ 246; 915-53 ¶ 246.
26
20
27
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1           e.       Roi Reuveni sent and received emails using the email accounts
2
2                    roi@chargebackarmor.com and roi@securedmerchants.com. Exs.
3
3
4                    911-39 ¶¶ 259-60; see also Exs. 917-71 ¶ ¶ 259-60; 918-62 ¶ 260.

5
4           f.       Roi Reuveni executed the lease agreement for Chargeback Armor,
6
5                    Inc. Ex. 917-71 ¶ 262.
7
6
8           g.       Reuveni supervised BunZai and Pinnacle chargeback department

9
7                    employees. See e.g. Exs. 129; 131; 132.
10
 8                         i.     Reuveni managed Pinnacle, which oversaw fulfillment,
11
 9
12                                customer service, and chargeback rebuttals for the

13
10                                enterprise. Ex. 554, at 32:2-32:14; Ex. 550, at 18:16-
14
11                                19:2; Ex. 553, at 31:1-15, 165:23-166:24, 167:20-
15
12
16                                177:18.

17
13                        ii.     Reuveni assisted in reviewing or drafting AuraVie’s
18
14                                template collection letter. Exs. 312.
19
15
20                       iii.     Roi reviewed customer service protocols, scripts, and

21
16                                call recordings. Exs. 109-7; 143; 195; 573.
22
17                       iv.      A call disposition instructional flowchart was authored
23
18
24                                by Reuveni according to the document’s metadata. Ex.

25
19                                142.
26
20
27
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1                         v.      Paul Medina testified that Roi Reuveni edited scripts
2
2                                 used by call center employees for responding to
3
3
4                                 consumer complaints about AuraVie. Ex. 946, at 47:2-

5
4                                 48:2.
6
5                        vi.      Reuveni reviewed the companies’ deceptive free trial
7
6
8                                 websites. Exs. 202 (Reuveni’s email address in upper

9
7                                 left hand corner of screenshot); 203 (Reuveni’s email
10
 8                                address in upper left hand corner of screenshot); 594.
11
 9
12                       vii.     Reuveni was apprised of the companies’ sales and

13
10                                chargebacks, both domestic and international. Ex. 151.
14
11                      viii.     Reuveni assisted in managing LimeLight, the customer
15
12
16                                management software used by the common enterprise.

17
13                                Ex. 248.
18
14                       ix.      Reuveni tracked customer service call dispositions for
19
15
20                                the common enterprise. Exs. 140; 325.

21
16                        x.      A third party call center emailed Reuveni consumer call
22
17                                summaries. Ex. 325.
23
18
24                       xi.      Reuveni discussed the enterprise’s chargeback ratios and

25
19                                ways to lower it with UMS bank and other payment
26
20                                processing entities. Ex. 285.
27
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1           h.       Reuveni’s participated in the common enterprise since at least early
2
2                    2011. Ex. 263.
3
3
4           i.       Reuveni worked for Secured Merchants. Ex. 553, at 16:9-16-20.

5
4                            i.   He signed contracts on behalf of Secured Merchants
6
5                                 LLC, listing his title as “Managing Member.” Ex. 412-5.
7
6
8           j.       Reuveni incorporated Agoa Holdings and was its owner and CEO.

9
7                    Agoa was another retail merchant corporation or shell company that
10
 8                   process consumer payments for AuraVie risk free trials. Reuveni
11
 9
12                   admitted that he would oversee orders of AuraVie for the company.

13
10                   Ex. 553, at 54:24-55:3; and Ex. 553, at 59:19-61:24.
14
11          k.       Reuveni was included on and sent emails concerning Chargeback
15
12
16                   Armor, Inc.’s business. Ex. 365.

17
13          l.       Reuveni admitted he worked for Chargeback Armor. Ex. 553 15:12-
18
14                   16:8.
19
15
20          m.       Reuveni reviewed the common enterprise’s deceptive free trial

21
16                   websites. Exs. 202 (Reuveni’s email address in upper left hand corner
22
17                   of screenshot); 203 (Reuveni’s email address in upper left hand
23
18
24                   corner of screenshot); 594.

25
19
26
20
27
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1           n.       Reuveni was present at the meeting in which his cousin, Alon,
2
2                    discussed the illegality of their scheme and his plans for how to
3
3
4                    prepare for the inevitable FTC enforcement action. See Ex. 86.

5
4           o.       Defendant Reuveni corresponded concerning posts on
6
5                    “ripoffreport.com” with Defendants Alon Nottea, Paul Medina, and
7
6
8                    Khristopher Bond. Ex. 93.

9
7           p.       Roi Reuveni owned Trigen LLC. Ex. 553, at 16:24-17:4.
10
 8          q.       Alon emailed Reuveni concerning new MasterCard regulations
11
 9
12                   concerning chargebacks. Ex. 141.

13
10          r.       Reveuni received chargeback reports from third party companies.
14
11                   Revguard, a third party company that assists companies in
15
12
16                   responding to chargebacks, emailed chargeback information to

17
13                   Reuveni. Exh. 144. XCaliber Solutions also updated Reuveni
18
14                   concerning chargeback statistics for the common enterprise’s sales.
19
15
20                   Ex. 146.

21
16          s.       Roi Reuveni received call logs along with an invoice from a third
22
17                   party call center. These call logs documented customer complaints
23
18
24                   concerning the common enterprise’s business practices. Ex. 325.

25
19       38. Defendant Khristopher Bond, is or has been an owner of BunZai.
26
20 Dkts. 244 ¶ 38, 245, ¶ 38. Defendant Bond was integrally involved in the day-to-
27
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1     day operations of BunZai. Dkts. 244 ¶ 38, 245, ¶ 38 Bond resides in this district.
2
2     Dkts. 244 ¶ 38, 245, ¶ 38. Khristopher Bond has defaulted in this action. Dkt.
3
3
4     #229.

5
4             39.      Defendant Alan Argaman was an owner of Defendant Secured
6
5     Commerce LLC, Dkts. 299 ¶ 39, which designed, created, and helped manage the
7
6
8     websites or landing pages used for deceptively marketing and selling skincare

9
7     products. Ex. 46. He is also an owner of Secured Merchants, LLC, Dkts. 299 ¶
10
 8 39; 244 ¶ 39; 245 ¶ 39; see also Ex. 917 ¶ 208. Defendant Alan Argaman resides
11
 9 in this district. Dkt. 299 ¶ 39.
12
13
10            a.       Doron Nottea and Motti Nottea stated that Alan Argaman managed
14
11                    Secured Commerce, LLC. Dkts. 244 ¶ 39; 245 ¶ 39.
15
12
16            b.      Doron Nottea also stated that he and Alan Argaman were the owners

17
13                    of Secured Commerce, LLC. Ex. 912 ¶ 214.
18
14            c.      Alan Argaman sent and received emails using the email account
19
15
20                    avicoglobal@gmail.com. Ex. 916 ¶ 261.

21
16            d.      Alan Argaman provided a variety of critical services to the common
22
17                    enterprise, many through his company, Secured Merchants LLC.
23
18
24                          i.     Argaman provided integration services for their

25
19                                 customer service management software, Limelight (See
26
20                                 Dkt. 121-6, at 9-21; Dkt. 121-7, at 1-3), which
27
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1                                 Defendant Argaman testified is a software typically used
2
2                                 for continuity sales. Ex. 555, 51:3-19. See also Ex. 946,
3
3
4                                 at 19:23-20:17.

5
4                         ii.      Argaman assisted Alon Nottea in operating a call center
6
5                                 for AuraVie customer complaints. Exs. 47; 149; 432;
7
6
8                                 440; 441; 516.

9
7                        iii.     Argaman provided technical expertise to create an
10
 8                                automated response system to allow large numbers of
11
 9
12                                consumers to cancel their AuraVie continuity plans. See

13
10                                Dkt. 121-6, at 9-21; Dkt. 121-7, at 1-3.
14
11                       iv.      Secured Merchants boasted that its contribution to the
15
12
16                                common enterprise “offer[s] a vehicle to resolve

17
13                                consumer disputes before they become chargebacks.”
18
14                                Ex. 257-2.
19
15
20                        v.      Defendant Argaman integrated the AuraVie free trial

21
16                                campaigns into Lime Light, a third party customer
22
17                                relationship management (CRM) software Defendants
23
18
24                                used for selling their products by negative option

25
19                                continuity plans. See Exs. 187; 306; 476; 493; 528; 547.
26
20
27
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1                        vi.      Email and screenshots show Defendant Argaman
2
2                                 designing, creating, or managing a website offering risk
3
3
4                                 free trial offers of skincare products. Ex. 531.

5
4                        vii.     Defendant Argaman admitted to creating AuraVie.com.
6
5                                 See Ex. 555, 49:5-18.
7
6
8                       viii.     Defendant Alon Nottea’s company was invoiced by

9
7                                 Secured Commerce LLC, a company owned by
10
 8                                Defendant Argaman for “Design, Creation, &
11
 9
12                                Optimization of Auravie landing page Campaign Setup

13
10                                and integration to Lime Light CRM and Click
14
11                                Connector.” See Ex. 46.
15
12
16                       ix.      Defendant Argaman sold Attitudeline/INFINI skincare

17
13                                products, a product that Defendants marketed or sold, or
18
14                                assisted others in marketing or selling, by negative
19
15
20                                option continuity plans (or assisted others in marketing

21
16                                or selling in the same manner). Ex. 368.
22
17                        x.      Defendant Argaman participated in planning and
23
18
24                                managing the AuraVie Angels promotional campaign.

25
19                                Exs. 185; 494; 497.
26
20
27
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1                        xi.      Defendant Argaman established toll-free telephone
2
2                                 numbers for various shell corporations and set up call
3
3
4                                 forwarding for those numbers. See, e.g., Ex. 529.

5
4                        xii.     Defendant Argaman used Secured Commerce to lease
6
5                                 the main office suite where Defendants operated. Dkt.
7
6
8                                 120, at 12.

9
7           e.       Defendant Argaman played a role in the decision making and
10
 8                   marketing of new products relating to the common enterprise that
11
 9
12                   went beyond providing assistance with technology issues and

13
10                   shipping. For example:
14
11                         i.     Defendant Argaman sent Doron Nottea a presentation
15
12
16                                concerning a product called LeElle. Defendant Argaman

17
13                                was later consulted concerning the company’s
18
14                                packaging design. Exs. 360; 361.
19
15
20                        ii.     Defendant Argaman also provided input concerning who

21
16                                would own the new product Defendants were marketing.
22
17                                Ex. 362.
23
18
24          f.       Defendant Argaman played a key role in refuting consumer

25
19                   chargebacks for the Corporate Defendants, through his company,
26
20                   Secured Merchants LLC.
27
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1                          i.      Defendant Argaman admitted that his company
2
2                                 contested consumer chargebacks for the Corporate
3
3
4                                 Defendants that sold AuraVie and that Secured

5
4                                 Merchants had previously provided a chargeback
6
5                                 refutation service termed “chargeback armor.” Ex. 555,
7
6
8                                 at 75:1-5, 86:10-25, 88:15-24.

9
7                         ii.     Defendant Argaman possessed a “Standard Service
10
 8                                Agreement” form for clients’ use of
11
 9
12                                Chargebackarmor.com. Further, emails suggest that

13
10                                Secured Merchants processed chargebacks for AuraVie
14
11                                under the name Chargeback Armor. Exs. 280; 348; 412;
15
12
16                                413.

17
13                       iii.     The Chargeback Armor Service Agreement states: “The
18
14                                Software is made available to you and the Service is
19
15
20                                owned, operated, and provided to you by SM through

21
16                                the CHARGEBACKARMOR.COM Site.” Ex. 280.
22
17                       iv.      According to Chargeback Armor, Inc.’s Executive
23
18
24                                Summary, “33,000 chargebacks were processed in 2014

25
19                                for our fist [sic] client, AuraVie, an anti-aging skincare
26
20                                company.” See Ex. 281-2.
27
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1                         v.      A document titled “Secured Merchants – Company
2
2                                 Describes” described the “ChargeBack Armor” services
3
3
4                                 as helping “win back lost revenue by reversing

5
4                                 chargebacks in your favor” and “handl[ing] the entire
6
5                                 chargeback dispute process on your behalf.” Ex. 257.
7
6
8           g.       Defendant Argaman operated Relief Defendant Chargeback Armor,

9
7                    Inc., a company Defendant Alon Nottea admitted was used to refute
10
 8                   consumer chargebacks, jointly with other Individual Defendants.
11
 9
12                         i.     Defendant Argaman, through his company Secured

13
10                                Merchants LLC, provided $250,000 in startup capital to
14
11                                Chargeback Armor, Inc. Exs. 916 ¶ 235; 917 ¶ 235; Dkt.
15
12
16                                #231-1, at 53.

17
13                        ii.     Chargeback Armor’s Executive Summary states that
18
14                                Defendant Argaman was the company’s “Chief
19
15
20                                Technology Officer.” Ex. 281.

21
16                       iii.     Nova 8 Media billed Defendant Argaman of Secured
22
17                                Merchants for “design services” for “Chargeback
23
18
24                                Armor.” See, e.g., Ex. 414.

25
19                       iv.      A Chargeback Armor, Inc. services agreement dated
26
20                                March 2, 2015 describes the company’s board of
27
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1                                 directors as consisting of Mike Costache, Alon Nottea,
2
2                                 and Avi Argaman. Dkt. # 231-1, at 36.
3
3
4                         v.      A Chargeback Armor, Inc. lease agreement dated

5
4                                 February 27, 2015 lists Mike Costache, Doron Nottea,
6
5                                 and Defendant Argaman as individuals to whom mail
7
6
8                                 may be sent to Chargeback Armor, Inc. Ex. 365-13.

9
7                        vi.      Defendant Argaman incorporated Chargeback Armor,
10
 8                                Inc. in concert with other Individual Defendants. Ex.
11
 9
12                                404.

13
10                       vii.     Defendant Argaman received statistics detailing
14
11                                chargeback numbers for various Chargeback Armor
15
12
16                                clients, including AuraVie. Ex. 151.

17
13                      viii.     (Intentionally left blank.)
18
14                       ix.      Defendant Argaman participated in discussions
19
15
20                                concerning high-level corporate decisions for

21
16                                Chargeback Armor ranging from updates regarding the
22
17                                launch of the company to opening the company’s
23
18
24                                corporate bank account. Exs. 184; 369.

25
19                        x.      Alon Nottea reported to Defendant Argaman concerning
26
20                                new Chargeback Armor customers. Ex. 184.
27
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1                        xi.      Mike Costache, a Secured Merchants employee and
2
2                                 purported Chargeback Armor CEO, sent an email to a
3
3
4                                 Secured Merchants client that included referring to

5
4                                 Secured Merchants as “the technology company that
6
5                                 developed the Chargeback Armor product” and then
7
6
8                                 noting that Secured Merchants is “transitioning all

9
7                                 clients to be billed” by Chargeback Armor. Dkt. # 231-
10
 8                                1, at 8.
11
 9
12          h.       Argaman had notice that Defendants marketed their products through

13
10                   negative option plans.
14
11                          i.    (Intentionally left blank.)
15
12
16                         ii.    Defendant Argaman assisted Defendants with managing

17
13                                their various trial campaigns on Lime Light software—
18
14                                software he acknowledged was often used for selling
19
15
20                                products by continuity plan. See Exs. 59; 92.

21
16                        iii.    Secured Merchants Executive Summary listed, under
22
17                                “Target Markets,” numerous companies that sell or sold
23
18
24                                their products by negative option continuity plans or

25
19                                trial offer. See Ex. 256.
26
20
27
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1           i.       Defendant Argaman was aware, or should have been aware, that
2
2                    Defendants took significant measures to disguise their common
3
3
4                    enterprise.

5
4                          i.      Defendant Argaman was sent emails discussing the
6
5                                  “load balanc[ing] between multiple merchant accounts
7
6
8                                  and corporations.” Ex. 337.

9
7                         ii.      Paul Medina informed Defendants Doron Nottea, Alon
10
 8                                 Nottea, and Alan Argaman about high risk accounts. Ex.
11
 9
12                                 337.

13
10                       iii.      Defendant Argaman assisted in establishing dozens of
14
11                                 phone numbers for Defendants’ shell corporations.
15
12
16          j.       Defendant Argaman was aware, or should have been aware, that

17
13                   Defendants engaged in “load balancing”—the means by which
18
14                   Defendants deceived payment processors concerning their actual
19
15
20                   chargeback ratio—between their various merchant accounts.

21
16                         i.      Load balancing was discussed in emails Argaman
22
17                                 received. See, e.g., Ex. 449.
23
18
24          k.       Defendant Argaman appears to have assisted in coordinating the

25
19                   assistance of and payment to a third party call center in India, which
26
20                   handled some customer service calls for Defendants. Ex. 386.
27
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1           l.       Defendant Argaman was included on an email detailing the high
2
2                    chargeback rates for merchant accounts associated with the common
3
3
4                    enterprise. Ex. 337.

5
4           40.      Defendant Paul Medina is or was the Executive President or Vice
6
5     President of Defendant Media Urge, Inc. Ex. 946, 9:9-22. He was also and
7
6
8     employee of BunZai, and the CEO of Focus Media Solutions, Inc. See Ex. 946, at

9
7     7:18-8:9.
10
 8       41. Relief Defendant Chargeback Armor, Inc. is a California
11
 9 corporation , Dkt. 300 ¶ 41, with its principal place of business at the Reseda
12
13 Office. Dkt. 120, at 18. At times material to the Complaint, Chargeback Armor,
10
14
11 Inc. received funds from Secured Merchants, LLC, which received funds from
15
16 SBM Management, Inc. Ex. 917 ¶¶ 235-236. At times material to the Complaint,
12

17 Chargeback Armor Inc. transacted business in this district. Dkts. 244 ¶ 41; 245 ¶
13
18
14 41.
19
15
20      a.    Secured Merchants, LLC transferred $250,000 in funds to

21
16                   Chargeback Armor, Inc. Exs. 916 ¶ 235; 917 ¶ 235; Dkt. # 231-1, at
22
17                   53.
23
18
24          b.       Secured Merchants, LLC received more than $300,000 in funds for

25
19                   providing chargeback services relating to the sale of Defendants’
26
20                   skincare products. Ex. 918 ¶ 236.
27
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1           c.       Alan Argaman and Chargeback Armor, Inc. stated that Roi Reuveni
2
2                    was the COO of Chargeback Armor, Inc. Ex. 917 ¶ 237.
3
3
4           d.       Relief Defendant Chargeback Armor, Inc. refuted consumer

5
4                    chargebacks for the unauthorized AuraVie charges.
6
5                          i.     Chargeback Armor boasted to potential investors that
7
6
8                                 33,000 chargebacks were processed in 2014 for our fist

9
7                                 [sic] client, AuraVie, an anti-aging skincare company.”
10
 8                                Dkt. 231-1, at 4.
11
 9
12                        ii.     Defendant Alon Nottea stated that Chargeback Armor,

13
10                                Inc. processed chargebacks for the common enterprise.
14
11                                Ex. 550, 172:3-5; see also Ex. 946, at 24:9-23.
15
12
16          e.       Although not formally incorporated until March 2015, the company

17
13                   operated informally before incorporation. See Ex. 280.
18
14          f.       Chargeback Armor appears to have provided nearly identical
19
15
20                   chargeback services as Secured Merchants. Dkt. 231-1, at 8; Exs.

21
16                   280; 412; 413.
22
17          g.       This company specialized in providing chargeback refutation services
23
18
24                   to the “Direct Response Marketing” industry, of which Defendants

25
19                   were but one of many. Ex. 256.
26
20
27
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1           h.       Chargeback Armor’s Executive Summary states that their “target
2
2                    market” was “High-rick [sic] online marketers.” Ex. 281.
3
3
4           i.       Chargeback Armor claims to investigate all chargebacks they contest.

5
4                          i.     Mike Costache, the purported CEO of Chargeback
6
5                                 Armor, stated that they would investigate the validity of
7
6
8                                 consumer chargebacks before attempting to contest

9
7                                 them. Dkt. # 121-6, at 3.
10
 8                        ii.     Costache stated that Chargeback Armor’s policy was to
11
 9
12                                “reply[] only to chargebacks that can be won with

13
10                                proper evidence from the client’s Customer relationship
14
11                                Management (CRM), gateway provider(s) and shipping
15
12
16                                provider(s).” Id.

17
13          j.       Chargeback Armor authorized Secured Merchants to receive its mail.
18
14                   Ex. 365.
19
15
20                                     COMMON ENTERPRISE

21
16        42. Defendants BunZai; Pinnacle; DSA Holdings, Inc.; Lifestyle Media
22
17 Brands, Inc.; Agoa Holdings, Inc.; Zen Mobile Media, Inc.; Safehaven Ventures,
23
24 Inc.; Heritage Alliance Group, Inc.; AMD Financial Network, Inc.; SBM
18
25
19 Management, Inc.; Media Urge, Inc.; Adageo, Inc.; CalEnergy, Inc.; Kai Media,
26
20 Inc.; Insight Media, Inc.; Focus Media Solutions, Inc.; Secured Commerce, LLC;
27
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1     Secured Merchants, LLC; USM Products, Inc.; Merchant Leverage Group, Inc.;
2
2     DMA Media Holdings, Inc.; Shalita Holdings, Inc.; All Star Beauty Products, Inc.
3
3
4     (collectively, “Corporate Defendants”) have operated as a common enterprise

5
4     while engaging in the deceptive and unlawful acts and practices alleged herein.
6
5     See, e.g. Dkts. 121-1 p. 3, 10-11; 121-3 pp. 4-5; Ex. 384.
7
6
8           a.       To determine the existence of a common enterprise, a court may

9
7                    consider a variety of factors including: common control; the sharing
10
 8                   of office space and officers; whether business is transacted through a
11
 9
12                   maze of interrelated companies; the commingling of corporate funds

13
10                   and failure to maintain separation of companies; unified advertising;
14
11                   pooled resources and staff; and evidence which reveals that no real
15
12
16                   distinction existed between the Corporate Defendants. FTC v. J.K.

17
13                   Publ’ns, Inc., 99 F. Supp. 2d 1176, 1202 (C.D. Cal. 2000); FTC v.
18
14                   Wolf, 1997-1 Trade Cas. (CCH) ¶ 71,713, at 79,080 (S.D. Fla. 1997).
19
15
20          b.       The shared use of different merchant accounts and fictitious business

21
16                   names to conduct business and process credit and debit card
22
17                   transactions may provide a sufficient basis for finding a common
23
18
24                   enterprise. See Cf. J.K. Publications, Inc., 99 F. Supp. 2d at 1202.

25
19          c.       It has been held by the Ninth Circuit that “entities constitute a
26
20                   common enterprise when they exhibit either vertical or horizontal
27
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1                    commonality – qualities that may be demonstrated by a showing of
2
2                    strongly interdependent economic interests or the pooling of assets
3
3
4                    and revenues.” FTC v. Network Servs. Depot, Inc., 617 F.3d 1127,

5
4                    1143 (9th Cir. 2010).
6
5           d.       Defendants’ shell companies funneled the money from AuraVie sales
7
6
8                    to two primary entities, SBM Management, Inc. and CalEnergy, Inc.,

9
7                    which in turn passed the funds on to Focus Media Solutions, Inc, the
10
 8                   Individual Defendants, or their personal shell companies. See Dkt.
11
 9
12                   #121-1, at 3.

13
10          e.       Because these Corporate Defendants operated as a common
14
11                   enterprise, each of them is jointly and severally liable for the acts and
15
12
16                   practices alleged. FTC v. J.K. Publ’ns, Inc., 99 F. Supp. 2d 1176,

17
13                   1202 (C.D. Cal. 2000); FTC v. Wolf, 1997-1 Trade Cas. (CCH)
18
14                   ¶ 71,713, at 79,080 (S.D. Fla. 1997) .
19
15
20          f.       The Defendants shared offices space and pooled resources:

21
16                         i.        BunZai, Pinnacle, DSA Holdings, Inc., Agoa Holdings,
22
17                                   Inc., Zen Mobile Media, Inc., Safehaven Ventures, Inc.,
23
18
24                                   Heritage Alliance Group, Inc., and AMD Financial

25
19                                   Network, Inc. used the Van Nuys Office. Dkts. 244 ¶¶ 9-
26
20
27
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1                                 11, 13-17; 245 ¶¶ 9-11, 13-17; 250 ¶¶ 9-10, 13 ; 251 ¶¶
2
2                                 9-10, 13;
3
3
4                         ii.     BunZaiand Adageo, LLC used Encino Mailbox A. Dkts.

5
4                                 244 ¶ 9; 245 ¶ 9; Exs. 904-2, -47.
6
5                        iii.     Pinnacle used the Reseda office. Exs. 244 ¶ 10; 245 ¶
7
6
8                                 10.

9
7                        iv.      Zen Mobile Media, Inc., SafeHaven Ventures, Inc.,
10
 8                                SBM Management, Inc., Adageo, LLC, Kai Media, Inc.,
11
 9
12                                and Insight Media, Inc. used Encino Mailbox B. Ex.

13
10                                904-24, -30, 40, -47, -53, -56.
14
11                        v.      Secured Merchants LLC operated out of the same office
15
12
16                                suite as the other Corporate Defendants. Dkt. 120, at 24.

17
13          g.       Counsel for BunZai, designed the common enterprise structure. See
18
14                   Exs. 119; 278; see also Ex. 123 (waiver of privilege).
19
15
20          h.       Defendants recruited friends, family, and acquaintances to permit

21
16                   their names to be used to open shell corporations and their respective
22
17                   merchant accounts fraudulently. In exchange, Defendants paid these
23
18
24                   figureheads 1% of the revenue processed through the companies’ in

25
19                   their names. See Ex. 32; 166; 170; 172.
26
20
27
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1                43. Defendants Alon Nottea, Motti Nottea, Doron Nottea, Oz Mizrahi,
2
2                    Igor Latsanovski, Roi Reuveni, Khristopher Bond, also known as Ray
3
3
4                    Ibbot, Alan Argaman, and Paul Medina (collectively, “Individual

5
4                    Defendants”) formulated, directed, controlled, had the authority to
6
5                    control, or participated in the acts and practices of the Corporate
7
6
8                    Defendants that constitute the common enterprise.

9
7           a.       Media Urge, Inc. and Focus Media Solutions, Inc. were controlled by
10
 8                   the Individual Defendants. See Ex. 941 at 8:18-9:10; Ex. 941 at 9:19-
11
 9
12                   9:25; Id. at 10:3-10:5; see also Dkt. #120, at 6 n.3, 17.

13
10          b.       Secured Merchants was owned and operated by the Individual
14
11                   Defendants:
15
12
16                         i.      Secured Merchants “Executive Summary,” created in

17
13                                 June 2013 states that the company’s management
18
14                                 consisted of Defendants Alon Nottea, “Avi” Argaman,
19
15
20                                 and Paul Medina. Ex. 256-2.

21
16                        ii.      A Secured Merchants LLC’s operating agreement draft
22
17                                 names Defendant Argaman and Defendant Alon Nottea
23
18
24                                 as the company’s two managers. Ex. 255-22.

25
19
26
20
27
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1                        iii.     Nonprivileged attorney invoices reference meetings
2
2                                 concerning Secured Merchants with Alon Nottea and
3
3
4                                 “Igor.” Ex. 388-3; 388-4.

5
4                        iv.      Secured Merchants LLC was identified as one of the
6
5                                 “Bunzai Companies” on a list that Defendant Doron
7
6
8                                 Nottea sent to CPA David Davidian. Ex. 394.

9
7                         v.      Doron Nottea created the email address
10
 8                                securedmerchantsllc@gmail.com. Ex. 357.
11
 9
12                       vi.      Defendant Argaman denied the existence of any other

13
10                                founder for Secured Merchants. Ex. 555, at 28:16-28:23;
14
11                                Ex. 555, at 29:7-29:8.
15
12
16          c.       Chargeback Armor, Inc. was owned and operated by Defendants:

17
13                         i.     Chargeback Armor’s Executive Summary lists
18
14                                Defendant Alon Nottea as President, Defendant Alan
19
15
20                                Argaman as Chief Technology Officer, and Defendant

21
16                                Roi Reuveni as Customer Service Manager. See Ex.
22
17                                281-3.
23
18
24                        ii.     Defendant Paul Medina also testified that he believed

25
19                                Alon Nottea owned the company. Ex. 946, at 25:2-25:6.
26
20
27
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1                        iii.     Alon Nottea reported to Defendant Argaman concerning
2
2                                 new Chargeback Armor customers. Ex. 184.
3
3
4                        iv.      Defendant Alon Nottea solicited investors for

5
4                                 Chargeback Armor, Ex. 910 ¶ 234; 917 ¶ 234, and the
6
5                                 purported Chargeback Armor CEO referred to him as
7
6
8                                 his “business partner.” Dkt. 120, at 23.

9
7                         v.      Purported CEO Mike Costache consulted with the
10
 8                                Individual Defendants concerning hiring and contracting
11
 9
12                                decisions. Dkt. #231-1, at 23, 26.

13
10                       vi.      Mike Costache, a Secured Merchants employee and
14
11                                purported Chargeback Armor CEO, sent an email to a
15
12
16                                Secured Merchants client that included referring to

17
13                                Secured Merchants as “the technology company that
18
14                                developed the Chargeback Armor product” and then
19
15
20                                noting that Secured Merchants is “transitioning all

21
16                                clients to be billed” by Chargeback Armor. Dkt. #231-1,
22
17                                at 8.
23
18
24                       vii.     Nova 8 Media billed Defendant Argaman of Secured

25
19                                Merchants for “design services” for “Chargeback
26
20                                Armor.” Ex. 414.
27
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1                       viii.     A Chargeback Armor, Inc. services agreement dated
2
2                                 March 2, 2015 describes the company’s board of
3
3
4                                 directors as consisting of Mike Costache, Alon Nottea,

5
4                                 and Avi Argaman. Dkt. #231-1, at 36.
6
5                        ix.      A Chargeback Armor, Inc. lease agreement dated
7
6
8                                 February 27, 2015 lists Mike Costache, Doron Nottea,

9
7                                 and Defendant Argaman as individuals to whom mail
10
 8                                may be sent to Chargeback Armor, Inc. Ex. 365-13.
11
 9
12                        x.      Defendant Doron Nottea was a signatory on Chargeback

13
10                                Armor’s bank account and is listed as secretary of the
14
11                                company on its bank of America account. See Dkt.
15
12
16                                #214, at 31; Dkt. #231-1, at 46.

17
13                       xi.      Mike Costache requested that Defendant Roi Reuveni
18
14                                set up an inbox anticipating email and telephone
19
15
20                                communications in light of Alon Nottea’s new business

21
16                                cards with a toll free number. Dkt. 231-1, at 9.
22
17          d.       Defendants’ CPA sent Doron Nottea a spreadsheet of the “BunZai
23
18
24                   companies.” Included on this list were nearly every Corporate

25
19                   Defendant. Ex. 302.
26
20
27
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1                                           COMMERCE
2
2           44.       At all times material to the Complaint, Defendants have maintained
3
3
4     a substantial course of trade in or affecting commerce, as “commerce” is defined

5
4     in Section 4 of the FTC Act, 15 U.S.C. § 44. Exs. 910 ¶ 55; 911 ¶ 55.
6
5                               DEFENDANTS’ BUSINESS PRACTICES
7
6
8           45.      Defendants advertised, marketed, distributed, and sold skincare

9
7     products online from multiple Internet websites, including auravie.com,
10
 8 auraviefreetrial.com, auravietrialkit.com, and mymiraclekit.com, since at least
11
 9 2010. Exs. 909; 597-13,-16,-19, -22; see also Dkt. 120, at 1. Defendants offered
12
13 free trials of their products under a variety of brand names including “AuraVie,”
10
14
11 “Dellure,” “LéOR Skincare,” and “Miracle Face Kit” (collectively, “AuraVie”).
15
16 Exs. 909-23, -24, -25, -144, -155; 335 (Dellure); 232-33 (Miracle Face Kit).
12

17
13       46. Defendants’ website failed to disclose adequately and materially
18
14 misrepresented the terms of their trial offers. Ex. 909-113, -115, -116, -126, -128,
19
20 -140.
15

21
16                                 Defendants’ Risk-Free Trial Offers
22
17          47.      [Intentionally left blank.]
23
18
24          48.        Consumers testified by sworn declaration that Defendants

25
19 advertised on third-party websites such as Facebook.com, Amazon.com,
26
20 HomeDepot.com, and offered a “risk-free” trial or “trial order” of Defendants’
27
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1      skincare products. Exs. 2 ¶ 2; 13 ¶ 2; 14 ¶ 2; After consumers clicked on these
2
2      advertisements, they were directed to Defendants’ websites and lured into
3
34     providing their credit or debit card information by representations that if

45     consumers paid a nominal shipping and handling charge, typically $4.99 or less,
6
5      they would receive a “risk-free” trial, “trial order,” or “gift” of products. Exs. 2 ¶
7
68     2; 4 ¶ 2; 13 ¶ 2; 14 ¶ 2; 15 ¶ 2; 909-113,-125; 909-113, -115, -128; see also 903-8.

79           49.        Defendants’ websites prominently claimed that their offer was
10
 8 merely a “trial”:
11
 9
12
13
10
14
11
15
12
16
17
13
18
14
19
15
20
21
16
22
17
23
18
24

19 (screen capture from http://auraviefreetrial.com, captured Mar. 25, 2014).
25
26
20
27
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1      Ex. 909-113; see also Ex. 600-17. Defendants promoted their offer as a “risk-
2
2      free” trial and, on most sites, claimed that customer satisfaction was “100%
3
34     guaranteed”:

45
6
5
7
68

79
10 (screen capture from http://mymiraclekit.com, capturedMay 12, 2014). Ex. 909-
 8
11
 9 128.
12
13
10           a.        Earlier versions of one of Defendants’ websites offered their
14                    products as a prize, purportedly for consumers who completed
11
15
12                    surveys:
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   (screen capture from http://archive.org, captured May 28, 2015). Ex. 903-8.
17
13
18       50.     When a user attempted to leave Defendants’ websites, a text
14
19 boxappeared that offered to ship the trial offer at a lower shipping price. These
15
20
   pop-up advertisements contained false representations that AuraVie was
21
16
22 accredited by the Better Business Bureau (“BBB”) with an “A-” rating:
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15 (screen capture from http://auraviefreetrial.com, captured March 25, 2014).
12
16 Ex. 909-116. In fact, AuraVie was not accredited by the BBB and it had an F
17 rating. Ex. 907 ¶ 5.
13
18
14        a.    the BBB actually contacted Defendants concerning their deceptive
19
15
20              practices. Ex. 592.
21
16    Defendants’ Hidden Costs, Continuity Plan Features, and Return Policy
22
17        51. Defendants’ marketing practices employed tactics including hidden
23
18
24 costs, signing up consumers for negative option continuity plans without their
25
19 consent, and undisclosed and onerous return policies. See, e.g., Exs. 2 ¶¶ 3-6; 5 ¶¶
26
20 2-5; 6 ¶¶ 3-6; 7 ¶¶ 2-6; 8 ¶¶ 3-5; 9 ¶¶ 2-5; 11 ¶ 5; 13 ¶ 7; 14 ¶¶ 4-6; 909-117, -
27
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1     118, -130, -131, -145, -146. In their advertisements and sales offers, Defendants
2
2     failed to disclose adequately that they would charge consumers’ credit or debit
3
3
4     accounts for the trial product, typically as much as $97.88, after a 10-day period.

5
4     Id.
6
5           52.        Defendants also failed to disclose adequately that consumers who
7
6
8     accepted the trial offer would be enrolled into a continuity program. Exs. 2 ¶ 6; 3

9
7     ¶ 14; 5 ¶ 4; 7 ¶ 6; see also 4 ¶ 6; 9 ¶ 5; 13 ¶ 7; 909-113, -115, -116, -126, -140, -
10
 8 155. Under the continuity program, Defendants sent consumers additional
11
 9 shipments of Defendants’ skincare product each month and charged consumers’
12
13 credit or debit cards the full cost of each product shipped until consumers
10
14
11 affirmatively canceled their membership in the continuity program. Exs. 2 ¶ 6; 14;
15
16 5 ¶ 4; 7 ¶ 6; 909-117,-118, -130, -131, -145, -146; see also 3 ¶¶ 8; 4 ¶ 6; 9 ¶ 5; 13
12

17 ¶ 7.
13
18
14        53. Consumers testified that they were typically unaware that they had
19
20 enrolled in Defendants’ continuity program until they discovered charges—
15

21
16 usually $97.88 a month—on their credit or debit card statements. Exs. 4 ¶ 3; 5 ¶ 3;
22
17 6 ¶ 5; 7 ¶ 3; 9 ¶ 4; 10 ¶ 3; 11 ¶ 3; 12 ¶ 5; 13 ¶ 6; 14 ¶ 5; 15 ¶ 4; see also 8 ¶ 4.
23
24 Consumers further testified that, by time they became aware of the charges,
18
25
19 Defendants told them it was too late for them to return the product for a refund.
26
20 Exs. 2 ¶ 6; 4 ¶ 6; 5 ¶ 4; 7 ¶ 6.
27
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1           54.      Further, although Defendants promoted their offers as “risk-free”
2
2     with “100% satisfaction guaranteed,” Defendants failed to disclose, or disclose
3
3
4     adequately, material terms of their return policy. Ex. 909-113, -115, -116, -126, -

5
4     140, -155; see also 2 ¶¶ 2-6, 10; 3 ¶ 14; 4 ¶ 8; 5 ¶ 2; 7 ¶ 7; 8 ¶ 8; 9 ¶ 7; 10 ¶¶ 2, 7;
6
5     11 ¶ 7; 12 ¶ 2; 13 ¶ 9; 14 ¶ 8; 15 ¶ 3, 7. Defendants failed to disclose adequately
7
6
8     that consumers must cancel their order within 10 or 14 days and return unopened

9
7     product within a certain period of time, usually 10, 14, or 30 days, to avoid being
10
 8 charged a $97.88 fee. Exs., 909-117, -118, -125, -131, -146; 2 ¶ 6; 5 ¶ 5; 9 ¶ 7; 13
11
 9 ¶ 9; 14 ¶¶ 3-4, 8. Defendants also failed to disclose adequately that after 10 days,
12
13 only unopened products could be returned for a refund and that no refunds would
10
14
11 be provided for any product returned after 30 days. Ex., 909-118, -131, -146; see
15
16 also 2 ¶¶ 7-10; 5 ¶ 5; 9 ¶ 7; 12 ¶¶ 2-3; 13 ¶ 9; 14 ¶¶ 3-4, 8; 15 ¶ 3.
12

17
13        55. Consumers have testified that, because they did not receive their
18
14 “risk-free” trial until after 10 days have elapsed (or nearly elapsed), they could not
19
20 return the product in time to avoid the $97.88 fee. Ex. 14 ¶ 4, 6; see also 10 ¶¶ 3-
15

21
16 4. Consumers also testified that Defendants failed to disclose adequately that they
22
17 often assessed a “restocking” fee of up to $15 for returning products. Ex. 4 ¶ 7;
23
24 see also Exs. 2 ¶ 6; 901-49: 8; 909-118, -131, -146. Accordingly, consumers who
18
25
19 accepted Defendants’ trial offers were likely to incur unexpected charges.
26
20       56.    Defendants’ websites did not contain a disclosure concerning the
27
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1     initial charges for the product, continuity program, or return policies until the
2
2     “final step” of their ordering page. Ex. 909-125. Consumers have testified that
3
3
4     they never saw such a disclosure, even when they specifically looked for one. Exs.

5
4     4 ¶ 8; 8 ¶ 3.
6
5            a.       As the screen capture below illustrates, the disclosure was in
7
6
8                     significantly smaller print and was obscured by a variety of graphics

9
7                     and text:
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20 (screen capture from http://auraviefreetrial.com, captured March 24, 204; not to
21
16 scale) Ex. 909-125. In contrast, Defendants represented—in bold, red font at the
22
17 top-center of the page—that their trial shipment cost “$0.00.” Id.
23
18
24        b.    For some websites, no disclosure was provided even in the final step.
25
19                    Ex. 902-1.
26
20
27
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1           57.      Even if the disclosure were prominently displayed, it failed to
2
2     mention many material terms and conditions of Defendants’ offer. Defendants’
3
3
4     disclosure stated:

5
4                    We take great pride in the quality of our products & are
6                    confident that you will achieve phenomenal results. By
5                    submitting your order, you agree to both the terms of
7                    this offer (click link below) & to pay $4.95 S&H for
6
8                    your 10 day trial. If you find this product is not for you,
                     cancel within the 10 day trial period to avoid being
9
7                    billed. After your 10 day trial expires, you will be billed
10                   $97.88 for your trial product & enrolled in our monthly
 8                   autoship program for the same discounted price. Cancel
11                   anytime by calling 866.216.9336. Returned shipments
 9
12                   are at customer’s expense. This trial is limited to 1 offer
                     per household.
13
10 Ex. 909-125.
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1           58.      Defendants’ disclosure paragraph, as set forth above, failed to
2
2     disclose: (a) that the 10-day trial period by which consumers must cancel began
3
3
4     on the day that the product was ordered; (b) that, to avoid charges, the consumer

5
4     must also return the product to Defendants by a certain time; (c) that consumers
6
5     could not return the product for a refund after 10 days if it has been opened; (d)
7
6
8     that consumers could not return the product for a refund after 30 days, even if it

9
7     was not opened; and (e) that a restocking fee, usually $15, may be charged when a
10
 8 product was returned. Id.
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1            59.       Most of the material terms and conditions of Defendants’ offer was
2
2      found in a separate, multi-page terms and conditions webpage that was accessible
3
34     by hyperlink. Ex. 909-116,-117,-118,-119,-120,-130,-131,-132,-133,-134,-145,-

45     146,-147,-148,-149,-164,-165, -166,-167,-172. On many of Defendants’ websites,
6
5      this hyperlink could only be found by scrolling to the bottom of the website and
7
68     clicking on a hyperlink labeled “T&C” Ex. 909-115,-128,-144,-163, See also 909-

79     144, -163, -172:
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22
17           (screen capture from auravietrialkit.com, captured on March 25, 2014). Ex.
23
18
24           909-115.
25
19
         60.    Defendants sent consumers who signed up for a trial offer a
26
20
27 confirmation email that reinforced the impression that they would receive a free
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1     shipment of Defendants’ skincare product. Exs. 8 ¶ 4; 8-5,-6; 14 ¶ 3; 15 ¶ 3; 15-5;
2
2     see also 12 ¶¶ 2, 7; 14 ¶¶ 3, 8; 902-2. These emails showed no charges for the
3
3
4     “risk-free” trial other than the nominal shipping and handling fees. Id.

5
4           61.      Further, Defendants’ confirmation emails did not disclose that
6
5     consumers would be charged the full cost of the product, usually $97.88, after 10
7
6
8     days unless the consumer canceled the order and returned the product during that

9
7     time. Id. Defendants’ confirmation emails did not disclose that the consumer was
10
 8 enrolled into a continuity program that would result in future shipments of product
11
 9 and a monthly charge of $97.88 on their credit or debit cards. Id. These emails
12
13 also failed to state when the charge would be imposed or how consumers could
10
14
11 avoid the charge. Id. Nor did the emails disclose that unopened products could be
15
16 returned for a refund only within 30 days of ordering. Id.
12

17
13          a.       Defendants were aware that their confirmation emails were
18
14                   inadequate. BunZai’s attorney informed Alon Nottea that the
19
15
20                   company was required by law to issue a “post-transaction

21
16                   confirmation email to be sent (within the lesser of 10 days or half the
22
17                   trial period time) that included all the material negative option terms
23
18
24                   and cancellations/refund procedure.” Ex.589-5. The attorney also

25
19                   provided advise on how to become compliant with FTC law. Ex. 589.
26
20                   In his letter, BunZai’s attorney further stated:
27
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1                          i.     “A 15% restocking fee on non-trial returns is buried in
2
2                                 the T&Cs. That’s a highly material term that should be
3
3
4                                 disclosed much more prominently, ideally on the order

5
4                                 page.” Ex. 589-5
6
5                         ii.     “It isn’t clear whether the 10-day trial begins from order
7
6
8                                 or delivery date. The consumer needs to have use of the

9
7                                 product for the full stated trial period or, alternatively, if
10
 8                                the trial period begins from the order date, there must be
11
 9
12                                very clear disclosure of that so the consumer knows,

13
10                                before she orders, that the trial period includes shipping
14
11                                time and she will have less than the stated trial period to
15
12
16                                try the product.” Ex. 589-5

17
13                       iii.     “To satisfy the ‘express informed consent’ requirement,
18
14                                the Green Millionaire consent mandates a ‘check box,
19
15
20                                signature, or other substantially similar method, that

21
16                                consumers must affirmatively select or sign to accept the
22
17                                negative option feature.’ All key negative option
23
18
24                                disclosures (costs, trial period length, need to cancel to

25
19                                avoid charge), together with a statement that the
26
20
27
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1                                 consumer is agreeing to pay the costs, must be
2
2                                 ‘immediately adjacent’ to the check box.” Ex. 589-4.
3
3
4                        iv.      “I would recommend that you not say ‘Risk-Free Trial’

5
4                                 since there is risk the consumer won’t cancel and will be
6
5                                 charged the purchase price, and the FTC certainly
7
6
8                                 wouldn’t view it as “risk-free.” Ex. 589-3.

9
7                         v.      “The FTC and a recent federal court decision in an FTC
10
 8                                case in California also require that negative option terms
11
 9
12                                appear ‘above the fold,’ requiring no scrolling. Right

13
10                                now your negative option terms are well below and quite
14
11                                far to the left of the credit card fields and the submit
15
12
16                                button, and are below the fold (at least on my screen),

17
13                                invisible without scrolling. As such, they are out of
18
14                                compliance with the placement requirements of both
19
15
20                                Rockefeller and the FTC.” Ex. 589-4

21
16                       vi.      “Almost certainly the FTC would say [your disclosure]
22
17                                therefore is not ‘conspicuous.’” Ex. 589-4.
23
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1           b.       In an audio-recorded meeting that included Alon Nottea, Roi
2
2                    Reuveni, and Paul Medina, Alon Nottea stated:
3
3
4           …If you send these terms, it can act like . . . we told you that we’re going to
         charge . . . we notified you . . . you have 10 days. Exactly. But when me and
5
4        Paul tried it a year ago, it didn’t work so good. It hurted (sic) us . . . If it’s done
6        creatively, if it’s done correctly and optimized . . . not just try, it didn’t work.
5           Ex. 556, at 101:12- 103:7.
7
                     Defendants’ Cancellation and Refund Practices
6
8
9
7           62.      Consumers testified that, after they learned that Defendants charged
10 their credit card or debit card accounts and signed them up for a continuity plan,
 8
11
 9 they often had significant difficulty receiving a refund and cancelling the
12
13 continuity plan. See Exs. 3 ¶¶ 5, 9; 4 ¶¶ 4-6; 6 ¶ 6; 8 ¶ 5; 11 ¶ 5; 14 ¶ 5-7.
10
14       63. Many consumers reported difficulty contacting Defendants’ customer
11
15
12 service representatives, despite calling Defendants’ toll-free number numerous
16
17 times. Id. Even when consumers spoke with a representative, some consumers
13
18
14 continued to receive shipments and unauthorized charges after cancelling the
19
15 continuity plan. Ex. 8 ¶ 6. Still others reported receiving multiple charges from
20
16 Defendants without receiving products. Ex. 10 ¶¶ 3-4. As a result, consumers
21
22
17 continued to incur unwanted and unauthorized charges. Id.
23
18       64. Consumers testified that, when they called Defendants to complain
24
25
19 about unauthorized charges, Defendants told them that the continuity plan would
26
20 be cancelled, but their money would not be refunded. See Exs. 2 ¶ 6; 5 ¶ 4; 8 ¶ 5;
27
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1     13 ¶ 7. Other consumers testified they were offered only a partial refund. See Exs.
2
2     3 ¶ 13; 4 ¶ 7; 7 ¶ 6; 9 ¶ 5; 11 ¶ 5; 14 ¶ 6; 15 ¶ 5; 901-10:17 to 901-11:2, 901-49:6-
3
3
4     17. Consumers testified that, at other times, Defendants conditioned a partial

5
4     refund upon the consumer’s promise or signed statement that they would not
6
5     complain to their credit card company, to the Better Business Bureau, or to any
7
6
8     authority. See Exs. 5 ¶ 4; 6 ¶ 8.

9
7           a.       A former employee of BunZai and Pinnacle, who worked in the
10
 8                   customer service and chargeback departments, testified that the
11
 9
12                   companies’ practice was to deny refunds unless consumers persisted

13
10                   in complaining about the charges. Ex. 554 at 11:4-6, 11:10-21, 24:3-
14
11                   25:6, 25:23-26:7, 26:17-19, 45:13-16 (“The goals was to spend the
15
12
16                   least amount of time on the phone with the customer and issue the

17
13                   least—the least amount of refunds that you could.”), 79:4-13.
18
14                         i.     Defendants’ customer service scripts confirm that
19
15
20                                customer service representatives were advised to avoid

21
16                                refunds as much as possible. See Ex. 240-3
22
17                                (“*Important* Avoid Returns as much as possible . . .
23
18
24                                Customers should initially be advised that the best we

25
19                                can do is cancel their membership and prevent any
26
20                                future charges or shipments”).
27
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1           b.       Consumer’s allegations and former employee testimony are
2
2                    corroborated by employee training materials, which included scripted
3
3
4                    rebuttals for responding to consumer complaints and refund requests.

5
4                    Ex. 554 22:9-22:15, 37:18-37:21, Ex. 240. According to the scripts,
6
5                    Defendant’s employees were to “Avoid Returns as much as possible.
7
6
8                    Never offer a return unless the customer requests it or is extremely

9
7                    irate. Customers should initially be advised the best we can do is
10
 8                   cancel their membership and prevent any future charges or
11
 9
12                   shipments.” Ex. 240-3. Consumers who threatened to file complaints

13
10                   with their financial institutions or the Better Business Bureau were to
14
11                   be offered a partial refund. Ex.554, at 34:5-13, 34:18-21, 38:15-
15
12
16                   39:13, 39:16-24, 42:9-22, Ex.240-7. Consumers who threatened to

17
13                   file complaints with the FTC or Attorneys General were to be offered
18
14                   a full refund. Ex. 240-9; Ex.554, at 43:5-44:16.
19
15
20          c.       Defendant Pinnacle Logistic, Inc. also provided employees with

21
16                   scripted rebuttals for responding to complaints and refund requests.
22
17                   Exs. 103-1, -2; 554, at 21:20-22:15, 26:17-19, 37:5-8, 37:14-21,
23
18
24                   38:6-39:24, 80:15-81:3, 81:11-19, 82:4-18.

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1           d.       Defendants’ scripts often instructed employees to inform consumers
2
2                    that AuraVie was “FTC compliant” and followed the FTC’s rules and
3
3
4                    regulations. Ex. 553, at 79:22-80:14.

5
4           65.      Defendants’ continuity program resulted in many complaints and
6
5     chargeback requests by consumers. See Exs 907; 554 at 26:2-7, 27:7-18, 28:2-5,
7
6
8     28:17-23, 90:20-23. A former employee testified that Defendants provided false

9
7     documents to payment processing companies and exaggerated the measures they
10
 8 took to communicate the terms of their offer to consumers. Ex. 554, at 97:22-98:4,
11
 9 see Ex. 554, at 71:3-72:5, 72:8-72:22, 96:10-96:18, 96:23-97:4, 98:16-98:19; see
12
13 27:13-27:18.
10
14
11          a.        Defendants established dozens of merchants accounts, held by
15
12
16                   numerous shell corporations, and used a variety of billing descriptors.

17
13                   Ex. 554, at 61:15-23, 32:22-25, 69:23-70:3, 83:25-83:18, 85:8-22,
18
14                   85:25-87:7, 90:6-23. According to the sworn testimony of former
19
15
20                   employee Andrew Stanley the use of numerous merchant accounts,

21
16                   shell corporations, and billing descriptors was intended to limit the
22
17                   number of consumer chargebacks to any one particular account and
23
18
24                   to help ensure that the enterprise could maintain access to credit card

25
19                   processing. Ex. 554:12-555:28.
26
20
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1           b.       Andrew Stanley also testified that Defendants submitted falsified
2
2                    documents to oppose consumer chargeback requests. Ex. 554, at
3
3
4                    71:3-72:22, 96:10-18, 96:20-97:4, 98:16-19; see also 97:22-98:4,

5
4                    60:13-22. These falsified documents were altered or doctored to
6
5                    make it appear that Defendants’ websites required consumers to click
7
6
8                    a box on the ordering screen indicating that they had read the terms

9
7                    and conditions of the sales offer in order to complete a purchase. Ex.
10
 8                   909-13 to -28. No such box existed on AuraVie’s websites. See Ex.
11
 9
12                   554 at 71:12-72:5. Disclosures were made larger and more prominent

13
10                   in materials provided to dispute chargeback requests than appeared
14
11                   on the actual websites. See Exs. 600-21; 909-119,-147,-166; 15-16.
15
12
16          c.       Defendants’ terms and conditions contained the following statement:

17
13                   CHARGEBACKS AND REVERSALS. We handle all chargebacks
18
14                   and reversals as potential cases of fraudulent use or our product offer
19
15
20                   and/or theft of product. In cases where we have provided a product

21
16                   and we have verified that a client has received a product and/or
22
17                   refused or returned product(s), whether or not they have used the
23
18
24                   product in any way, possible actions taken by the company may

25
19                   include filing a complaint with the Internet Crimes Bureau and/or
26
20                   local authorities in your state to investigate theft of product and
27
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1                    possible mail fraud which is a Federal Crime. All cases of
2
2                    chargeback requests will be vigorously fought by the Company. BE
3
3
4                    AWARE that if you choose to claim your online transaction was

5
4                    fraudulent that all activity and IP address information is captured.
6
5                    This digital proof of whom and where the order was placed with be
7
6
8                    submitted to the proper authorities. This information may be used in

9
7                    a civil and criminal case against a customer if there is fraudulent use
10
 8                   or theft of product(s).
11
 9
12          d.       Ex. 909-118, -131, -132,-146,-147,-165 See Exs. 600-21, Ex. 15-16.

13
10                   Defendants made similar representations to consumers who called
14
11                   their customer service number to request a refund. Ex. 240-5.
15
12
16                   Defendants instructed call center representatives to tell consumers

17
13                   that their chargeback attempts fail “90% of the time, meaning if they
18
14                   did temporarily credit your account, they will take those funds out
19
15
20                   again.” Ex. 104-4.

21
16          e.       In an effort to maintain access to credit card processing, Defendants
22
17                   established as many as dozens of merchant accounts, held by
23
18
24                   numerous shell corporations, and used a variety of billing descriptors

25
19                   to obscure that Defendants were in fact a single enterprise. See Ex.
26
20
27
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1                    907 ¶¶17-18; Ex. 554, at 61:12-23, 69:23-70:3, 82:25-83:18, 85:15-
2
2                    22,85:25-87:7, 90:15-23, see 32:22-25.
3
3
4           f.       Many of these shell companies use the same payment processing

5
4                    companies and acquiring banks. See Ex. 78-2.
6
5           66.      Consumers testified that Defendants often did not honor return
7
6
8     policies, even when consumers satisfied them. See Ex. 11 ¶ 5; 901-26:19. For

9
7     example, Defendants told consumers that they could obtain a refund on any
10
 8 product returned even when the product remained unopened and the 30-day period
11
 9 had not yet elapsed, contrary to Defendants’ terms and conditions. Id. Some
12
13 consumers reported being refused a refund by Defendants despite sending the
10
14
11 product back within the permissible time period, with Defendants’ customer
15
16 service representative stating that Defendants could not confirm receipt of return
12

17 shipment or that the shipment was not returned properly. Exs. 7 ¶ 6; 13 ¶ 7.
13
18
14       67. Consumers testified that, in other instances, they received refunds
19
20 from Defendants only after they complained to their credit card companies,
15

21
16 regulatory authorities, or the Better Business Bureau. Exs. 3 ¶¶ 12-13; 4 ¶ 11; 7 ¶
22
17 9; 7-13. Even in those instances, however, Defendants did not always issue full
23
24 refunds. Id.
18
25
19
26
20
27
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1                                  VIOLATIONS OF THE FTC ACT
2
2           68.        Section 5(a) of the FTC Act prohibits “unfair or deceptive acts
3
3
4     orpractices in or affecting commerce.” 15 U.S.C. § 45(a) (2006).

5
4           69.             Acts or practices are unfair under Section 5 of the FTC Act if
6
5     they cause substantial injury to consumers that consumers cannot reasonably
7
6
8     avoid themselves and that are not outweighed by countervailing benefits to

9
7     consumers or competition. 15 U.S.C. § 45(n). Misrepresentations or deceptive
10
 8 omissions of material fact constitute deceptive acts or practices prohibited by
11
 9 Section 5(a) of the FTC Act.
12
13
10          a.       An act or practice is deceptive if “first, there is a representation,
14
11                   omission, or practice that, second, is likely to mislead consumers
15
12
16                   acting reasonably under the circumstances, and third, the

17
13                   representation, omission, or practice is material.” FTC v. Gill,
18
14                   265 F.3d 944, 950 (9th Cir. 2001); FTC v. Pantron I Corp., 33 F.3d
19
15
20                   1088, 1095 (9th Cir. 1994) (quoting and adopting the standard set

21
16                   forth in In re Cliffdale Assocs., 103 F.T.C. 110, 164-65 (1984)).
22
17          b.       A misrepresentation may be either express or implied. FTC v. Figgie
23
18
24                   Int’l, Inc., 994 F.2d 595, 604 (9th Cir. 1993) (“[N]othing in statute or

25
19                   case law . . . protects from liability those who merely imply their
26
20                   deceptive claims . . . .”).
27
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1           c.       Although the representation, omission, or practice must be likely to
2
2                    mislead a reasonable consumer, the FTC need not prove actual
3
3
4                    reliance by each individual consumer. Figgie Int’l, 994 F.2d at 605.

5
4                    Requiring such proof would defeat the intent of the FTC Act and
6
5                    would frustrate prosecutions of large consumer redress actions. Id.
7
6
8                    Instead, a presumption of actual reliance arises once the FTC has

9
7                    proved that the defendant made material misrepresentations, that they
10
 8                   were widely disseminated, and that consumers purchased the
11
 9
12                   defendant’s product. Id. at 605–06.

13
10          d.       A representation, omission, or practice is material if it “‘involves
14
11                   information that is important to consumers and, hence, likely to affect
15
12
16                   their choice of, or conduct regarding, a product.’” FTC v.

17
13                   Cyberspace.com LLC, 453 F.3d 1196, 1201 (9th Cir. 2006) (quoting
18
14                   Cliffdale Assocs., 103 F.T.C. at 165). Express claims are presumed
19
15
20                   to be material. FTC v. Pantron I Corp., 33 F.3d 1088, 1095-96 (9th

21
16                   Cir. 1994). Reliance upon such claims is presumptively reasonable.
22
17                   FTC v. Five-Star Auto Club, Inc., 97 F. Supp. 2d 502, 528 (S.D.N.Y.
23
18
24                   2000).

25
19          e.       An advertisement that fails to disclose material information is
26
20                   deceptive. Simeon Mgmt. Corp. v. FTC, 579 F.2d 1137, 1146 (9th Cir.
27
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1                 1978). Inconspicuous disclosures do not remedy the deceptiveness of
2
2                 a material omission. FTC v. Cyberspace.com LLC, No. C00-1806L,
3
3
4                 2002 WL 32060289, 2-4 (W.D. Wash. July 10, 2002) (holding that a

5
4                 fine print disclosure was inadequate to escape liability), aff’d 453
6
5                 F.3d 1196, 1200 (9th Cir. 2006) (collection case where deception was
7
6
8                 found because fine print disclosures were inadequate); FTC v. Direct

9
7                 Mktg. Concepts, Inc., 624 F.3d 1, 12 (1st Cir. 2010) (“[d]isclaimers or
10
 8                qualifications in any particular ad are not adequate to avoid liability
11
 9
12                unless they are sufficiently prominent and unambiguous to change

13
10                the apparent meaning of the claims and leave an accurate
14
11                impression”) (quoting Removatron Int’l Corp. v. FTC, 884 F.2d
15
12
16                1489, 1497 (1st Cir. 1989)); FTC v. Brown & Williamson Tobacco

17
13                Corp., 778 F.2d 35, 43 (D.C. Cir. 1985) (holding that an
18
14                advertisement’s description of cigarette tar content was deceptive
19
15
20                despite a fine print disclosure at the bottom of the ad); Porter &

21
16                Deitsch v. FTC, 605 F.2d 294, 301 (7th Cir. 1979) (upholding FTC
22
17                and finding that disclosures “buried in small print” were inadequate
23
18
24                to qualify weight loss claims in advertising); FTC v. Gill, 71 F. Supp.

25
19                2d 1030, 1044 (C.D. Cal. 1999) (disclaimers made in contract for
26
20
27
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1                  credit repair services were insufficient to counteract advertising
2
2                  claims about the service).
3
3
4          f.      Under Section 5, the FTC is not required to prove that a defendant

5
4                  intended to deceive consumers, nor is a defendant’s good faith a
6
5                  defense to liability. FTC v. World Travel Vacation Brokers, Inc.,
7
6
8                  861 F.2d 1020, 1029 (7th Cir. 1988); FTC v. Pioneer Enters., Inc.,

9
7                  1992-2 Trade Cas. (CCH) ¶70,043, at 69,156 (D. Nev. 1992)
10
 8                 (George, C.J.).
11
 9
12         g.      Charging consumers’ credit or debit cards without consumers’

13
10                 express informed consent has consistently held to be unfair under the
14
11                 FTC Act. See, e.g., FTC v. J.K. Publ’ns, Inc., 99 F. Supp. 2d 1176,
15
12
16                 1201 (C.D. Cal. 2000); FTC v. Global Mktg. Grp., Inc., 594 F. Supp.

17
13                 2d 1281, 1288-89 (M.D. Fla. 2008).
18
14                                          Count I.
19
15
20                Failure to Disclose Adequately Material Terms of Offer

21
16        70.     In numerous instances, in connection with the advertising,
22
17 marketing, promotion, offering for sale, or sale of skincare products, including but
23
24 not limited to AuraVie products, Defendants represented, directly or indirectly,
18
25
19 expressly or by implication, that consumers who provided their credit or debit
26
20 card billing information would be charged only a nominal shipping and handling
27
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1    fee to receive a trial shipment of Defendants’ skincare products and, that their
2
2    satisfaction was guaranteed. See UF 48 and 49, supra.
3
3
4          71.             In numerous instances in which Defendants made the

5
4    representation set forth in Paragraph 70, Defendants failed to disclose, or disclose
6
5    adequately to consumers, material terms and conditions of their offer, including:
7
6
8          (a)      That Defendants would use consumers’ credit or debit card

9
7                   information to charge consumers the full costs of the trial products,
10
 8                  usually $97.88, upon the expiration of a limited trial period;
11
 9
12         (b)      The dates on which the trial period began and ended;

13
10         (c)      That Defendants would automatically enroll consumers in a negative
14
11                  option continuity plan with additional charges;
15
12
16         (d)      The cost of the continuity plan, and the frequency and duration of the

17
13                  recurring charges;
18
14         (e)      The means consumers must use to cancel the negative option
19
15
20                  program to avoid additional charges; and

21
16         (f)      Requirements of their refund policies. See UF 51 and 52, supra; see
22
17                  also Ex. 909-125.
23
18
24         72.      Plaintiff alleged that Defendants’ failure to disclose, or to disclose

25
19
26
20
27
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1    adequately, the material information described in Paragraph 71, in light of the
2
2    representation described in Paragraph 70, constituted a deceptive act or practice in
3
3
4    violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

5
4                                         Count II.
6
5                                False “Risk-Free” Trial Claim
7
6
8          73.    Through the means described in Paragraph 45-67, Defendants

9
7    represented, directly or indirectly, that consumers could try AuraVie “risk-free.”
10
 8       74.     The representation set forth in Paragraph 73 was false. Consumers
11
 9 could not try Defendants’ products “risk-free,” because Defendants charged
12
13 consumers the full cost if the “risk-free” product was opened and not returned
10
14
11 within 10 days of placing the order, often assessed a restocking fee of up to $15,
15
16 and consumers had to bear the additional expense of returning the product to the
12

17 Defendants. In addition, Defendants failed, in numerous instances, to refund
13
18
14 consumers’ charges assessed for the trial order, despite consumers having returned
19
20 the product according to the offer’s terms and conditions. See UF 66, supra.
15

21
16        75.    Plaintiff alleged that Defendants’ representations set forth in
22
17 Paragraph 73 constituted deceptive acts or practices in or affecting commerce in
23
24 violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
18
25
19
26
20
27
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1                                        Count III.
2
2            False Better Business Bureau Accreditation and Rating Claims
3
3
4          76.    In numerous instances in connection with the advertising, marketing,

5
4    promotion, offering for sale, or sale of skincare products, Defendants represented,
6
5    directly or indirectly, expressly or by implication, that Defendants were accredited
7
6
8    by and had a rating of “A-” with the Better Business Bureau. See UF 50, supra.

9
7          77.     In truth and in fact, Defendants were not accredited by and did
10
 8 nothave a rating of “A-” with the Better Business Bureau. Defendants’ rating with
11
 9 the Better Business Bureau was an “F.” Id.
12
13
10         78.    Plaintiff alleged Defendants’ representation in Paragraph 76 was
14
11 false or misleading and constituted a deceptive act or practice in violation of
15
16 Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
12

17
13                                       Count IV.
18
14                Unfairly Charging Consumers Without Authorization
19
15
20         79.    In numerous instances, Defendants caused charges to be submitted

21
16 for payment to the credit and debit cards of consumers without the express
22
17 informed consent of consumers. See UF 53 and 62-65, supra. Charging
23
24 consumers’ credit or debit cards without consumers’ express informed consent has
18
25
19 consistently held to be unfair under the FTC Act. See, e.g., FTC v. J.K. Publ’ns,
26
20
27
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1    Inc., 99 F. Supp. 2d 1176, 1201 (C.D. Cal. 2000); FTC v. Global Mktg. Grp., Inc.,
2
2    594 F. Supp. 2d 1281, 1288-89 (M.D. Fla. 2008).
3
3
4          80.    Defendants’ actions caused or were likely to cause substantial injury

5
4    to consumers that consumers cannot reasonably avoid themselves and that was not
6
5    outweighed by countervailing benefits to consumers or competition.
7
6
8          81.     Plaintiff alleged Defendants’ practices as described in Paragraph 79

9
7    constituted unfair acts or practices in violation of Section 5 of the FTC Act, 15
10
 8 U.S.C. §§ 45(a) and 45(n).
11
 9
12      VIOLATIONS OF THE RESTORE ONLINE SHOPPERS’ CONFIDENCE ACT

13
10         82.     In 2010, Congress passed the Restore Online Shoppers’ Confidence
14
11 Act, 15 U.S.C. §§ 8401-05, which became effective on December 29, 2010.
15
16 Congress passed ROSCA because “[c]onsumer confidence is essential to the
12

17 growth of online commerce. To continue its development as a marketplace, the
13
18
14 Internet must provide consumers with clear, accurate information and give sellers
19
20 an opportunity to fairly compete with one another for consumers’ business.”
15

21
16 Section 2 of ROSCA, 15 U.S.C. § 8401.
22
17       83.     Section 4 of ROSCA, 15 U.S.C. § 8403, generally prohibits
23
24 charging consumers for goods or services sold in transactions effected on the
18
25
19 Internet through a negative option feature, as that term is defined in the
26
20 Commission’s Telemarketing Sales Rule (“TSR”), 16 C.F.R. § 310.2(u), unless
27
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1    the seller: (a) clearly and conspicuously discloses all material terms of the
2
2    transaction before obtaining the consumer’s billing information; (b) obtains the
3
3
4    consumer’s express informed consent before making the charge; and (c) provides

5
4    a simple mechanism to stop recurring charges. See 15 U.S.C. § 8403.
6
5          84.     The TSR defines a negative option feature as: “in an offer or
7
6
8    agreement to sell or provide any goods or services, a provision under which the

9
7    consumer’s silence or failure to take an affirmative action to reject goods or
10
 8 services or to cancel the agreement is interpreted by the seller as acceptance of the
11
 9 offer.” 16 C.F.R. § 310.2(u). It is unlawful “for any person to charge or attempt to
12
13 charge any consumer for any goods or services sold in a transaction effected on
10
14
11 the Internet through a negative option feature (as defined in the Federal Trade
15
16 Commission’s Telemarketing Sales Rule in part 310 of title 16, Code of Federal
12

17 Regulations)” without clearly and conspicuously disclosing material terms,
13
18
14 obtaining a consumer’s informed consent, and providing a simple mechanism to
19
20 stop recurring charges. 15 U.S.C. § 8403 (2006).
15

21
16       85.    As described above, Defendants advertised and sold Defendants’
22
17 skincare products to consumers through a negative option feature as defined by
23
24 the TSR. See UF 51-53, supra.
18
25
19         86.     Under Section 5 of ROSCA, 15 U.S.C. § 8404, a violation of
26
20
27
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1    ROSCA is a violation of a rule promulgated under Section 18 of the FTC Act, 15
2
2    U.S.C. § 57a.
3
3
4                                            Count V.

5
4                 Violation of ROSCA – Auto-Renewal Continuity Plan
6
5          87.       In numerous instances, in connection with the selling of skincare
7
6
8    products on the Internet through a negative option feature, Defendants failed to:

9
7          (a)    clearly and conspicuously disclose all material terms of
10
 8                the negative option feature of the skincare products
11
 9
12                transaction before obtaining the consumer’s billing

13
10                information;
14
11         (b)    obtain the consumer’s express informed consent to the
15
12
16                negative option feature before charging the consumer’s

17
13                credit card, debit card, bank account, or other financial
18
14                account for the transaction; and/or
19
15
20         (c)    provide simple mechanisms for a consumer to stop

21
16                recurring charges for skincare products to the
22
17                consumer’s credit card, debit card, bank account, or
23
18
24                other financial account.

25
19         88.       Plaintiff alleged Defendants’ practices in Paragraph 87 were a
26
20
27
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1   violation of Section 4 of ROSCA, 15 U.S.C. § 8403, and a violation of a rule
2
2   promulgated under Section 18 of the FTC Act, 15 U.S.C. § 57a, 15 U.S.C. §
3
3
4   8404(a).

5
4          Violations of the Electronic Fund Transfer Act and Regulation E
6
5          89.      Section 907(a) of EFTA, 15 U.S.C. § 1693e(a), provides that a
7
6
8   “preauthorized” electronic fund transfer from a consumer’s account may be

9
7   “authorized by the consumer only in writing, and a copy of such authorization
10
 8 shall be provided to the consumer when made.”
11
 9
12        90.    Section 903(10) of EFTA, 15 U.S.C. § 1693a(10), provides that

13 the term “preauthorized electronic fund transfer” means “an electronic fund
10
14
11 transfer authorized in advance to recur at substantially regular intervals.”
15
12
16        91.    Section 205.10(b) of Regulation E, 12 C.F.R. § 205.10(b), provides

17 that “[p]reauthorized electronic fund transfers from a consumer’s account may be
13
18
14 authorized only by a writing signed or similarly authenticated by the consumer.
19
20 The person that obtains the authorization shall provide a copy to the consumer.”
15

21
16       92.          Section 205.10 of the Federal Reserve Board’s Official Staff
22
17 Commentary to Regulation E, 12 C.F.R. § 205.10(b), Supp. I, provides that “[t]he
23
24 authorization process should evidence the consumer’s identity and assent to the
18
25
19 authorization.” ¶ 10(b), cmt 5.
26
20
27
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1          a.      For an authorization to be valid, the terms of the preauthorized
2
2                  transfer must be “clear and readily understandable” and the
3
3
4                  authorization “should evidence the consumer’s identity and assent to

5
4                  the authorization.” Federal Reserve Board’s Official Staff
6
5                  Commentary to Regulation E, 12 C.F.R. Part 205, Supp I, ¶ 10(b),
7
6
8                  comments (5) & (6). These protections ensure that consumers’

9
7                  consent to recurring debits will be knowing and informed.
10
 8         b.      A consumer’s rights under EFTA cannot be waived. 15 U.S.C. §
11
 9
12                 1693l (2006).

13
10                                         Count VI.
14
11                   Unauthorized Debiting from Consumers’ Accounts
15
12
16         93.       In numerous instances, Defendants debited consumers’ bank

17 accounts on a recurring basis without obtaining a written authorization signed or
13
18
14 similarly authenticated from consumers for preauthorized electronic fund transfers
19
20 from their accounts, thereby violating Section 907(a) of EFTA, 15 U.S.C.
15

21
16 § 1693e(a), and Section 205.10(b) of Regulation E, 12 C.F.R. § 205.10(b).
22
17       94.     Further, in numerous instances, Defendants debited consumers’
23
24 bank accounts on a recurring basis without providing a copy of a written
18
25
19 authorization signed or similarly authenticated by the consumer for preauthorized
26
20 electronic fund transfers from the consumer’s account, thereby violating Section
27
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1    907(a) of EFTA, 15 U.S.C. § 1693e(a), and Section 205.10(b) of Regulation E, 12
2
2    C.F.R. § 205.10(b).
3
3
4          95.     Under Section 917 of EFTA, 15 U.S.C. § 1693o©, a violation of

5
4    EFTA and Regulation E constitutes a violation of the FTC Act.
6
5          96.    Plaintiff alleges Defendants engaged in violations of EFTA and
7
6
8    Regulation E as described in alleged in Paragraphs 93 and 94.

9
7                                        Count VII.
10
 8                                   Relief Defendant
11
 9
12         97.    Relief Defendant, Chargeback Armor, Inc. received, directly or

13 indirectly, funds and other assets from Defendants that were traceable to funds
10
14
11 obtained from Defendants’ customers through the unlawful acts or practices
15
16 described herein.
12

17
13       98. Relief Defendant was not a bona fide purchaser with legal and
18
14 equitable title to Defendants’ customers’ funds or other assets, and Relief
19
20 Defendant will be unjustly enriched if it is not required to disgorge the funds or
15

21
16 the value of the benefit it received as a result of Defendants’ unlawful acts or
22
17 practices.
23
18
24        99.     By reason of the foregoing, Relief Defendant holds funds and assets

25
19 in constructive trust for the benefit of Defendants’ customers.
26
20
27
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1                                      CONSUMER INJURY
2
2           100. Consumers have suffered and will continue to suffer substantial
3
3
4    injury as a result of Defendants’ violations of the FTC Act, ROSCA, and EFTA.

5
4    In addition, Defendants have been unjustly enriched as a result of their unlawful
6
5    acts or practices. Absent injunctive relief by this Court, Defendants are likely to
7
6
8    continue to injure consumers, reap unjust enrichment, and harm the public

9
7    interest.
10
 8                       THIS COURT’S AUTHORITY TO GRANT RELIEF
11
 9
12          101. Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this

13 Court to grant injunctive and such other relief as the Court may deem appropriate
10
14
11 to halt and redress violations of any provision of law enforced by the FTC. The
15
16 Court, in the exercise of its equitable jurisdiction, may award ancillary relief,
12

17 including rescission or reformation of contracts, restitution, the refund of monies
13
18
14 paid, and the disgorgement of ill-gotten monies, to prevent and remedy any
19
20 violation of any provision of law enforced by the FTC.
15

21
16          a.      To obtain injunctive and monetary relief against individuals for
22
17                  injury to consumers resulting from a company’s conduct, the FTC
23
18
24                  must establish that the individuals both: (1) participated directly in

25
19                  the unlawful acts or practices or had authority to control them; and
26
20                  (2) had some knowledge of these acts or practices. FTC v. Publ’g
27
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1                  Clearing House, Inc., 104 F.3d 1168, 1170–71 (9th Cir. 1997); FTC v.
2
2                  Amy Travel Serv., Inc., 875 F.2d 564, 573 (7th Cir. 1989).
3
3
4          b.      Authority to control the company can be demonstrated by “active

5
4                  involvement in business affairs and the making of corporate policy,
6
5                  including assuming the duties of a corporate officer.” Amy Travel,
7
6
8                  875 F.2d at 573.

9
7          c.      The FTC may satisfy the knowledge requirement by showing either
10
 8                 actual knowledge of the misrepresentations, reckless indifference to
11
 9
12                 the truth or falsity of the misrepresentations, or an awareness of a

13
10                 high probability of fraud coupled with an intentional avoidance of the
14
11                 truth. Publ’g Clearing House, 104 F.3d at 1171; Amy Travel, 875
15
12
16                 F.2d at 574. The degree of participation in business affairs is

17
13                 probative of knowledge. Publ’g Clearing House, 104 F.3d at 1170;
18
14                 FTC v. Sharp, 782 F. Supp. 1445, 1450 (D. Nev. 1991) (Pro, J.).
19
15
20         d.      To establish individual liability, the FTC need not show that the

21
16                 individual intended to defraud consumers. Publ’g Clearing House,
22
17                 104 F.3d at 1171.
23
18
24         102. Section 19 of the FTC Act, 15 U.S.C. § 57b, Section 5 of ROSCA, 15

25
19 U.S.C. § 8404, and Section 917(c) of EFTA, 15 U.S.C. § 16930(c), authorize this
26
20 Court to grant such relief as the Court finds necessary to redress injury to
27
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1    consumers resulting from Defendants’ violations of the FTC Act, ROSCA, and
2
2    EFTA, including the rescission or reformation of contracts and the refund of
3
3
4    money.

5
4                                     PRAYER FOR RELIEF
6
5       Pursuant to Sections 13(b) and 19 of the FTC Act, 15 U.S.C. §§ 53(b), 57b,
7
6
8    Section 5 of ROSCA, 15 US.C. § 8404, Section 917(c) of EFTA, 15 U.S.C. §

9
7    1693o(c), and the Court’s own equitable powers, this Court has authority to:
10
 8         A.      Enter a permanent injunction to prevent future violations of the FTC
11
 9
12                 Act, ROSCA, and EFTA by Defendants;

13
10         B.      Award such relief as the Court finds necessary to redress injury to
14
11                 consumers resulting from Defendants’ violations of the FTC Act,
15
12
16                     ROSCA, and EFTA, including, but not limited to, rescission or

17
13                 reformation of contracts, restitution, the refund of monies paid, and
18
14                 the disgorgement of ill-gotten monies;
19
15
20         C.      Enter an order requiring Relief Defendant to disgorge all funds and

21
16                 assets, or the value of the benefit it received from the funds and
22
17                 assets, which are traceable to Defendants’ unlawful acts or practices;
23
18
24                 and

25
19         D.      Award Plaintiff the cost of bringing this action, as well as such other
26
20                 additional relief the Court determines to be just and proper.
27
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1                                    Jurisdiction and Venue
2
2          103. This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331,
3
3
4    1337(a), and 1345, and 15 U.S.C. §§ 45(a) and 53(b).

5
4          104. Personal jurisdiction over all Defendants exists pursuant to the FTC
6
5    Act’s provision for nationwide service of process, 15 U.S.C. § 53(b).
7
6
8          105. Venue is proper in this District under 28 U.S.C. § 1391(b) and (c),

9
7    and 15 U.S.C. § 53(b).
10
 8                              The Standard for Summary Judgment
11
 9
12         106. Summary judgment is proper if the pleadings, depositions, answers to

13 interrogatories, and admissions on file, together with the affidavits, if any, show
10
14
11 that there “is no genuine dispute as to any material fact and the movant is entitled
15
16 to judgment as a matter of law.” FED. R. CIV. P. 56(a).
12

17
13        107. The moving party “bears the initial responsibility of informing the
18
14 district court of the basis for its motion.” Celotex Corp. v. Catrett, 477 U.S. 317,
19
20 323 (1986).
15

21
16        108. Once the moving party satisfies its burden under Rule 56(c), the
22
17 burden shifts to the non-moving party to produce facts to show there is a genuine
23
24 issue for trial. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
18
25
19 587 (1986).
26
20
27
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1          109. Summary judgment is proper when a rational trier of fact would not
2
2    be able to find for the nonmoving party on the claims at issue. Id.; see also
3
3
4    Villiarimo v. Aloha Island Air, Inc., 281 F.3d 1054, 1061 (9th Cir. 2002). Only

5
4    disputes over facts that might affect the outcome of the case would properly
6
5    preclude summary judgment. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
7
6
8    (1986). Thus, any opposition to this motion must set forth admissible evidence

9
7    that is significantly probative, and not merely colorable, of any fact that is claimed
10
 8 to be disputed. Id. at 249.
11
 9
12        110. As the Supreme Court has held: “The mere existence of a scintilla of

13 evidence . . . will be insufficient; there must be evidence on which the [fact finder]
10
14
11 could reasonably find for [the opposing party].” Id. at 252; Hawking v. Ford
15
16 Motor Credit Co., 210 F.3d 540, 545 (5th Cir. 2000).
12

17
13                    Counts I-III: Section 5 of the FTC Act – Deception
18
14        111. Section 5(a) of the FTC Act empowers the FTC to prevent “deceptive
19
20 acts or practices in or affecting commerce.” 15 U.S.C. § 45(a) (2006).
15

21
16       112. An act or practice is deceptive if “first, there is a representation,
22
17 omission, or practice that, second, is likely to mislead consumers acting
23
24 reasonably under the circumstances, and third, the representation, omission, or
18
25
19 practice is material.” FTC v. Gill, 265 F.3d 944, 950 (9th Cir. 2001); FTC v.
26
20
27
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1    Pantron I Corp., 33 F.3d 1088, 1095 (9th Cir. 1994) (quoting and adopting the
2
2    standard set forth in In re Cliffdale Assocs., 103 F.T.C. 110, 164–65 (1984)).
3
3
4          113. A representation, omission, or practice is material if it “‘involves

5
4    information that is important to consumers and, hence, likely to affect their choice
6
5    of, or conduct regarding, a product.’” FTC v. Cyberspace.com LLC, 453 F.3d
7
6
8    1196, 1201 (9th Cir. 2006 (quoting Cliffdale Assocs., 103 F.T.C. at 165).

9
7          114. The FTC need not prove actual reliance by each individual consumer.
10
 8 Figgie Int’l, 994 F.2d at 605. Requiring such proof would defeat the intent of the
11
 9 FTC Act and would frustrate prosecutions of large consumer redress actions. Id.
12
13 Instead, a presumption of actual reliance arises once the FTC has proved that the
10
14
11 defendant made material misrepresentations, that they were widely disseminated,
15
16 and that consumers purchased the defendant’s product. Id. at 605–06.
12

17
13       115. The FTC is not required to show an intent to deceive, since
18
14 consumers can be equally harmed by both deliberate and negligent conduct. FTC
19
20 v. World Travel Vacation Brokers, Inc., 861 F.2d 1020, 1029 (7th Cir. 1988); FTC
15

21
16 v. NCH, Inc., 1995-2 Trade Cas. (CCH) ¶71,114, at 75,346 (D. Nev. 1995)
22
17 (O’Connor, J.); FTC v. Pioneer Enters., Inc., 1992-2 Trade Cas. (CCH) ¶70,043,
23
24 at 69,156 (D. Nev. 1992) (George, C.J.).
18
25
19
26
20
27
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1          116. The failure to clearly and conspicuously disclose the material terms
2
2   of an offer is a deceptive omission that violated Section 5 of the FTC Act. FTC v.
3
3
4   Pioneer Enters., Inc., 1992-2 Trade Cas. (CCH) ¶ 70,043 (D. Nev. 1992).

5
4          117. Representations are deceptive under Section 5 of the FTC Act where
6
5   they are both likely to mislead consumers acting reasonably and material to
7
6
8   consumers’ purchasing decisions. See FTC v. Gill, 265 F.3d 950; FTC v. Pantron

9
7   I Corp., 33 F.3d 1095.
10
 8        118. “To determine whether a representation, omission, or practice is
11
 9 likely to mislead, the Court considers the overall net impression the representation
12
13 creates.” Publrs. Bus. Servs., Inc., 821 F. Supp. 2d at 1223 (citing
10
14
11 Cyberspace.com, 453 F.3d at 1200).
15
12
16      119. There is no question that a false representation that a product is free

17 or risk free is material and a violation of Section 5. See FTC v. Commerce Planet,
13
18
14 Inc., 878 F. Supp. 2d 1048, 1068 (C.D. Cal. 2012) (“This misrepresentation is
19
20 undoubtedly material because the information about a free kit goes to the cost of
15

21
16 the product, an important factor in a consumer’s decision on whether or not to
22
17 purchase a product. The notion that consumers will get a free kit makes it more
23
24 likely that they will unwittingly provide their credit card information, thinking
18
25
19 they are only paying for shipping and handling, when in fact, they are obligating
26
20 themselves to pay a subscription fee for the continuity program.”)
27
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1          120. To be effective, a disclosure must be sufficiently clear and prominent
2
2   so that the “overall net impression” of the sales offer is truthful. See
3
3
4   Cyberspace.Com, 453 F.3d at 1200 (“A solicitation may be likely to mislead by

5
4   virtue of the net impression it creates even though the solicitation also contains
6
5   truthful disclosures.”). See also FTC v. Direct Marketing Concepts, Inc., 624 F.3d
7
6
8   1, 12 (1st Cir. 2010) (“[d]isclaimers or qualifications in any particular ad are not

9
7   adequate to avoid liability unless they are sufficiently prominent and unambiguous
10
 8 to change the apparent meaning of the claims and leave an accurate impression”)
11
 9 (quoting Removatron Intern. Corp. v. FTC, 884 F.2d 1489, 1497 (1st Cir. 1989));
12
13 FTC v. Brown & Williamson Tobacco Corp., 778 F.2d 35, 43 (D.C. Cir. 1985)
10
14
11 (holding that an advertisement’s description of cigarette tar content was deceptive
15
16 despite a fine print disclosure at the bottom of the ad); FTC v. Porter & Deitsch,
12

17 605 F.2d 294, 301 (7th Cir. 1979) (upholding FTC and finding that disclosures
13
18
14 “buried in small print” were inadequate to qualify weight loss claims in
19
20 advertising); FTC v. Gill, 71 F. Supp. 2d 1030, 1044 (C.D. Cal. 1999) (disclaimers
15

21
16 made in contract for credit repair services were insufficient to counteract
22
17 advertising claims about the service).
23
18
24       121. Express product claims are presumed to be material and reliance

25
19 upon such claims is presumptively reasonable. FTC v. Pantron I Corp., 33 F.3d
26
20
27
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1   1088, 1095-96 (9th Cir. 1994); FTC v. Five-Star Auto Club, Inc., 97 F. Supp. 2d
2
2   502, 528 (S.D.N.Y. 2000).
3
3
4                       Count IV: Section 5 of the FTC Act - Unfairness

5
4          122. An act or practice is unfair, and violates Section 5(a) of the FTC Act,
6
5   if it causes, or is likely to cause, substantial injury to consumers that is not
7
6
8   reasonably avoidable and is not outweighed by countervailing benefits to

9
7   consumers or competition. 15 U.S.C. § 45(n).
10
 8        123. Courts have regularly found unauthorized billing to be unfair. FTC
11
 9 v. Inc21.com, 745 F. Supp. 2d 975, 1003-05 (N.D. Cal. 2010) (unauthorized
12
13 charges to telephone bills were unfair); FTC v. J.K. Publ’ns, 99 F. Supp. 2d 1176,
10
14
11 1203 (C.D. Cal. 2000) (unauthorized credit card charges); FTC v. Windward
15
16 Mktg., Ltd., No. 96-615F, 1997 WL 33642380, at *10, 13 (N.D. Ga. Sept. 30,
12

17 1997) (unauthorized bank debits).
13
18
14       124. Taking consumers’ money without authorization is presumed to
19
20 cause substantial injury. See J.K. Publ’ns, 99 F. Supp. 2d at 1201 (finding
15

21
16 substantial injury where “consumers were injured by a practice for which they did
22
17 not bargain”).
23
18
24       125. The injury is substantial even if the amount taken is relatively small.

25
19 FTC v. Pantron I Corp., 33 F.3d 1088, 1102 (9th Cir. 1994), cert. denied, 514
26
20
27
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1   U.S. 1083 (1995) (“[C]onsumer injury is substantial when it is the aggregate of
2
2   many small individual injuries.”).
3
3
4          126. It is well-established principle in the federal courts that large

5
4   numbers of consumer complaints and high chargeback, return, and refund rates
6
5   are convincing evidence that a consumer did not agree to be charged. See FTC v.
7
6
8   MacGregor, 360 Fed App’x 891, 894 (9th Cir. 2009) (holding that high refund

9
7   and return rates, along with high volume of complaints, are probative of
10
 8 misrepresentations and other abuses). See also FTC v. Commerce Planet, 878 F.
11
 9 Supp. 2d 1048, 1075-76 (C.D. Cal. 2012) (high volume of consumer complaints
12
13 and excessive chargeback rates reaching 8 percent consistent with fraud); FTC v.
10
14
11 Grant Connect, LLC, 827 F. Supp. 2d 1199, 1221 (D. Nev. 2011) (“[H]igh
15
16 number of cancellations, refunds and chargebacks suggest that in fact consumers
12

17 were deceived about what they were ordering.”); J.K. Publ’ns, 99 F. Supp. 2d at
13
18
14 1203 (finding unauthorized charging where, among other things, more than 50
19
20 percent of consumers contacting defendants claimed they had not ordered
15

21
16 defendants’ products and there were 7.3 percent chargebacks); FTC v. QT, Inc.,
22
17 448 F. Supp 2d 908, 936 (N.D. Ill. 2006), aff’d 512 F.3d 858 (7th Cir. 2008)
23
24 (refund rate of 25 percent indicates deception); FTC v. Crescent Publ’g Grp., 129
18
25
19 F. Supp. 2d 311, 315, 322 (S.D. N.Y 2001) (lack of consumer authorization
26
20 evidenced by “strikingly high chargeback level that averaged approximately 10.51
27
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1   percent.”); Windward Mktg., 1997 WL 33642380, at *6, 12 (concluding from 40
2
2   percent return rate that defendant knew debits were unauthorized).
3
3
4          127. Consumers cannot reasonably avoid an unauthorized charge that they

5
4   discover after it occurs. Inc21.com, 745 F. Supp. 2d at 1004 (“[T]he burden
6
5   should not be placed on defrauded customers to avoid charges that were never
7
6
8   authorized to begin with.”).

9
7          128. Finally, consumers do not benefit from being debited or charged for
10
 8 products or services “they never agreed to purchase, didn’t know were being
11
 9 provided to them, and never wanted in the first place.” Inc21.com, 745 F. Supp.
12
13 2d at 1004-05; see also Neovi, 604 F.3d at 1157 (consumers are “injured by a
10
14
11 practice for which they did not bargain”); J.K. Publ’ns, 99 F. Supp. 2d at 1202.
15
12
16            Count V: Restore Online Shoppers’ Confidence Act (“ROSCA”)

17
13        129. Section 4 of ROSCA, 15 U.S.C. § 8403, generally prohibits charging
18
14 consumers for goods or services sold on the Internet through a negative option
19
20 feature, unless the seller clearly and conspicuously discloses all material terms of
15

21
16 the transaction before obtaining the consumer’s billing information, obtains the
22
17 consumer’s express informed consent before making the charge, and provides a
23
24 simple mechanism to stop recurring charges. See 15 U.S.C. § 8403 (2006).
18
25
19       130. Specifically, it is unlawful “for any person to charge or attempt to
26
20 charge any consumer for any goods or services sold in a transaction effected on
27
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1   the Internet through a negative option feature (as defined in the Federal Trade
2
2   Commission’s Telemarketing Sales Rule in part 310 of title 16, Code of Federal
3
3
4   Regulations)” without clearly and conspicuously disclosing material terms,

5
4   obtaining a consumer’s informed consent, and providing a simple mechanism to
6
5   stop recurring charges. 15 U.S.C. § 8403 (2006).
7
6
8          131. The Telemarketing Sales Rule defines a negative option feature as

9
7   “an offer or agreement to sell or provide any goods or services, a provision under
10
 8 which the consumer's silence or failure to take an affirmative action to reject
11
 9 goods or services or to cancel the agreement is interpreted by the seller as
12
13 acceptance of the offer.” 16 C.F.R. § 310.2(u) (2006).
10
14
11     132. Under Section 5 of ROSCA, 15 U.S.C. § 8404, a violation of
15
16 ROSCA is a violation of a rule promulgated under Section 18 of the FTC Act, 15
12

17 U.S.C. § 57a.
13
18
14 Count VI: The Electric Funds Transfer Act (“EFTA”) and Regulation E
19
15
20       133. The Electronic Fund Transfer Act, and its implementing

21
16 Regulation E, regulate the circumstances under which a merchant may make
22
17 regularly recurring debits from a consumer’s bank account. EFTA and Regulation
23
24 E require that, before a merchant can make such recurring debits, it must obtain a
18
25
19 written authorization signed or similarly authenticated by the consumer. 15 U.S.C.
26
20 § 1693e(a) (2006); 12 C.F.R. § 205.10(b) (2006).
27
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1          134. Section 907(a) of EFTA, 15 U.S.C. § 1693e(a), provides that a
2
2   “preauthorized electronic fund transfer from a consumer’s account may be
3
3
4   authorized by the consumer only in writing, and a copy of such authorization shall

5
4   be provided to the consumer when made.”
6
5          135. Section 903(9) of EFTA, 15 U.S.C. §1693a(9, provides that the term
7
6
8   “preauthorized electronic fund transfer” means “an electronic fund transfer

9
7   authorized in advance to recur at substantially regular intervals.”
10
 8        136. Section 205.10(b) of Regulation E, 12 C.F.R. § 205.10(b), provides
11
 9 that “[p]reauthorized electronic fund transfers from a consumer’s account may be
12
13 authorized only by a writing signed or similarly authenticated by the consumer.
10
14
11 The person that obtains the authorization shall provide a copy to the consumer.”
15
16 Section 205.10 of the Federal Reserve Board’s Official Staff Commentary to
12

17 Regulation E, 12 C.F.R. §205.10(b), Supp. I, provides that “[t]he authorization
13
18
14 process should evidence the consumer’s identity and assent to the authorization.”
19
20 Id. ¶10(b), cmt 5. The Official Staff Commentary further provides that “[a]n
15

21
16 authorization is valid if it is readily identifiable as such and the terms of the
22
17 preauthorized transfer are clear and readily understandable …” Id. ¶ 10(b), cmt 6.
23
18
24                                   Count IV: Relief Defendant
25
19       137. “The broad equitable powers of the federal courts can be employed to
26
20 recover ill-gotten gains for the benefit of the victims of wrongdoing, whether held
27
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1    by the original wrongdoer or by one who has received the proceeds after the
2
2    wrong.” FTC v. Ivy Capital, Inc., 2013 WL 1224613, at *18 (D. Nev. Mar. 26,
3
3
4    2013) quoting SEC v. Colello, 139 F.3d 674, 676 (9th Cir. 1998).

5
4          138. Under the FTC Act, disgorgement from a relief defendant is
6
5    warranted where: (1) the relief defendant has received ill-gotten gains; and (2)
7
6
8    does not have a legitimate claim to those gains. See FTC v. Ivy Capital, Inc., et al.,
9
7    2013 WL 1224613, at * 18 (relief defendant who was responsible for keeping the
10
 8 books and for various operations or administrative tasks is liable for
11
 9 disgorgement); FTC v. Transnet Wireless Corp., 506 F. Supp. 2d 1247, 1273
12
13
10 (S.D. Fla. 2007) (relief defendant liable for the full amount off ill-gotten gains she
14
11 received when she provided no service to the corporate defendants); SEC v.
15
12
16 Colello, 139 F.3d 674, 677 (9th Cir. 1998) (summary judgment against a relief
17
13 defendant who failed to show he had a legitimate claim to the ill-gotten gains he
18
14 received); FTC v. Inc21.com Corp., 745 F. Supp. 2d 975, 1009 (N.D. Cal. 2010),
19
15
20 aff’d 475 Fed. Appx. 106 (9th Cir. 2012) (relief defendant liable for ill-gotten
21
16 gains as he was “president” of a corporation “in name only” and provided no
22
17 services to the corporation); FTC v. Holiday Enterp, 2008 WL 953358, at * 12
23
18
24 (N.D. Ga. Feb. 5, 2008) (relief defendant liable as “[s]he never performed any
25
19 work for the [defendant] companies (except for occasional signing of checks) and
26
20 would not have a legitimate claim to properties because of any work performed
27
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1    for the Holiday companies”); FTC v. Think Achievement Corp., 144 F. Supp. 2d
2
2    1013, 1020-22 (N.D. Ind. 2000).
3
3
4          139. Once demonstrated, the appropriate remedy is an equitable monetary
5
4    judgment equivalent to the amount of ill-gotten gains that the relief defendant
6
5    received. See FTC v. Transnet Wireless Corp., 506 F. Supp. 2d at 1273.
7
6
8          140. Moreover, it is well-established that government agencies, in an
9
7
   effort to maximize the recovery of funds taken through fraud, may pursue
10
 8
11 individuals or companies even if they are no longer in possession of the ill-gotten
 9
12 assets. See, e.g., CFTC v. Gresham, No. 3:09-cv-75, 2012 WL 1606037, *3 (N.D.
13
10
   Ga. May 7, 2012) (“An individual may be a proper relief defendant even if she
14
11
15 does not possess the actual ill-gotten gains if she previously received benefits that
12
16 were derived from another person’s unlawful conduct.”).
17
13
18       141. Finally, courts have found that an individual’s status as an employee
14
19 does not create a legitimate claim to salary or other employee benefits if her
15
20
   employment was “in name only.” FTC v. Inc21.com Corp., 745 F. Supp. 2d at
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22 999.
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1                                 Liability: Common Enterprise
2
2          142. Where corporate defendants act as a common enterprise, each may be
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3
4    held jointly and severally liable for the unlawful acts and practices of the other.

5
4    Grant Connect, 827 F. Supp. 2d at 1216; J.K. Publ’ns, 99 F. Supp. 2d at 1202.
6
5          143. Corporations “‘constitute a common enterprise when they exhibit
7
6
8    either vertical or horizontal commonality—qualities that may be demonstrated by

9
7    a showing of strongly interdependent economic interest or the pooling of assets
10
 8 and revenues.’” Grant Connect, 827 F. Supp. 2d at 1266 (citing FTC v. Network
11
 9 Servs. Depot, Inc., 617 F.3d 1127, 1142-43 (9th Cir. 2010)).
12
13
10         144. In determining whether a common enterprise exists, “the Court
14
11 considers factors such as: common control; the sharing of office space and
15
16 officers; whether business is transacted through a maze of interrelated companies;
12

17 the commingling of corporate funds and failure to maintain separation of
13
18
14 companies; unified advertising; and evidence that reveals that no real distinction
19
20 exists between the corporate defendants.” Id. (quoting FTC v. Nat’l Urological
15

21
16 Grp., Inc., 645 F. Supp. 2d 1167, 1182 (N.D. Ga. 2008)); see also FTC v. Ivy
22
17 Capital, Inc., No. 11-283, 2013 WL 1224613 at *13 (D. Nev. Mar. 26, 2013)
23
24 (common enterprise existed where there was common control, shared office space,
18
25
19 interrelated activity, and commingled funds). In addition, “the pattern and frame-
26
20 work of the whole enterprise must be taken into consideration.” Del. Watch Co. v.
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1   FTC, 332 F.2d 745, 746-47 (2d Cir. 1964) (affirming company was liable because
2
2   it was part of a “maze of interrelated companies”).
3
3
4          145. The Ninth Circuit has also held that “entities constitute a common

5
4   enterprise when they exhibit either vertical or horizontal commonality – qualities
6
5   that may be demonstrated by a showing of strongly interdependent economic
7
6
8   interests or the pooling of assets and revenues.” FTC v. Network Servs. Depot,

9
7   Inc., 617 F.3d 1127, 1143 (9th Cir. 2010).
10
 8      146. It is not necessary that the FTC prove any particular number of entity
11
 9 connections and any specific connection. Instead, it must be proved that the
12
13 defendants maintained an "unholy" alliance. See FTC v. Ameridebt, Inc., 343 F.
10
14
11 Supp. 2d 451, 462 (D. Md. 2004).
15
12
16                                  Individual Liability
                               Liability for Injunctive Relief
17
13       147. Individuals are liable for injury to consumers resulting from a
18
14 company’s deceptive acts or practices when they either: (1) “participated directly
19
20 in the acts or practices;” or (2) “had authority to control them.” FTC v. Publ’g
15

21
16 Clearing House, Inc., 104 F.3d 1168, 1170 (9th Cir. 1997).
22
17        148. “Participation” can include an individual working at and drawing a
23
24 salary from the company, even if the individual is not involved in day-to-day
18
25
19 operations. See, e.g., FTC v. J.K. Publications, Inc., 99 F. Supp. 2d 1176, 1206
26
20 (C.D. Cal. 2000). Moreover, where an officer participates in “acts crucial to the
27
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1    success” of an enterprise, the officer has directly participated for the purposes of
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2    individual liability. Id. In J.K. Publications, for instance, the court held liable a
3
3
4    corporate officer who had obtained merchant accounts and purchased a database

5
4    of consumers for the corporate defendant. See, e.g., FTC v. J.K. Publications, Inc.,
6
5    99 F. Supp. 2d 1176, 1206 (C.D. Cal. 2000).
7
6
8          149. Individuals are also liable for injunctive relief if they had “authority

9
7    to control” the corporation, which can be inferred from “‘active involvement in
10
 8 business affairs and the making of corporate policy.’” J.K. Publications, 99 F.
11
 9 Supp. at 1203 (quoting FTC v. Am. Standard Credit Sys., Inc., 874 F. Supp. 1080,
12
13 1089 (C.D. Cal. 1994)). An individual’s “status as a corporate officer and
10
14
11 authority to sign documents on behalf of the corporate defendant can be sufficient
15
16 to demonstrate the requisite control.” Id. at 1204. Indeed, a “corporate officer is
12

17 presumed to be in control of a small, closely held corporation, and assuming the
13
18
14 duties of a corporate officer is probative of an individual's participation or
19
20 authority.” FTC v. Ivy Capital, Inc., No. 2:11-CV-283, 2013 WL 1224613, *14
15

21
16 (D. Nev. Mar. 26, 2013) (quoting FTC v. LoanPointe, LLC, No. 2:10-CV-
22
17 225DAK, 2011 WL 4348304, *10 (D. Utah Sept. 16, 2011)); see also FTC v.
23
24 Transnet Wireless Corp., 506 F. Supp. 2d 1247, 1270 (S.D. Fla. 2007) (“An
18
25
19 individual’s status as a corporate officer gives rise to the presumption of ability to
26
20 control a small, closely-held corporation.”); Standard Educators, Inc. v. FTC, 475
27
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1   F.2d 401, 403 (D.C. Cir. 1973) (“A heavy burden of exculpation rests on the chief
2
2   executive and primary shareholder of a closely held corporation whose stock-in-
3
3
4   trade is overreaching and deception.”); FTC v. Windward Mktg., No. Civ. A. 1:96-

5
4   CV-615F, 1997 WL 33642380, *13 (N.D. Ga. Sept. 30, 1997) (“An individual’s
6
5   status as a corporate officer gives rise to a presumption of ability to control a
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6
8   small, closely-held corporation.”).

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7                           Liability for Equitable Monetary Relief
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 8       150. To obtain equitable monetary relief against an individual, the FTC
11
 9 must show, in addition to one of the two factors above, that the individual had
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13 some knowledge of the company’s deceptive acts or practices. J.K. Publications,
10
14
11 99 F. Supp. at 1204.
15
12
16       151. Individuals possess the requisite knowledge if they: (1) had actual

17 knowledge of the misrepresentations; (2) were recklessly indifferent to the truth or
13
18
14 falsity of the misrepresentations; or (3) had an awareness of a high probability of
19
20 deceptive conduct together with an intentional avoidance of the truth. FTC v.
15

21
16 Network Servs. Depot, Inc., 617 F.3d 1127, 1138-39 (9th Cir. 2010); Publ’g
22
17 Clearing House, 104 F.3d at 1171; FTC v. Amy Travel Serv. Inc., 875 F.2d 564,
23
24 574 (7th Cir. 1989).
18
25
19      152. The “degree of participation in business affairs is probative of
26
20 knowledge.” Amy Travel Serv., 875 F.2d at 574; FTC v. Sharp, 782 F. Supp. 1445,
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1    1450 (D. Nev. 1991). The FTC, however, is not required to prove that an
2
2    individual actually intended to deceive to establish knowledge. Network Servs.
3
3
4    Depot, 617 F.3d at 1139; Publ’g Clearing House, 104 F.3d at 1171.

5
4                          Permanent Injunctive Relief is Warranted
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5          153. Section 13(b) of the FTC Act authorizes courts to issue a permanent
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8    injunction whenever a defendant violates the laws enforced by the Commission

9
7    and is likely to continue to violate them. FTC v. H.N. Singer, Inc., 668 F.2d 1107,
10
 8 1111 (9th Cir. 1982); FTC v. Gem Merch. Corp., 87 F.3d 466, 468 (11th Cir.
11
 9 1996); FTC v. Medlab, Inc., 615 F. Supp. 2d 1068, 1082 (N.D. Cal. 2009).
12
13
10         154. To determine whether a defendant is likely to engage in similar
14
11 violations in the future, courts look to two general factors: (1) the deliberateness
15
16 and seriousness of the present violation, and (2) the defendant’s past record with
12

17 respect to deceptive and unfair marketing practices. Sears, Roebuck and Co. v.
13
18
14 FTC, 676 F.2d 385, 392 (9th Cir. 1982); Ivy Capital, 2013 WL 1224613, at *16.
19
20 The court may also weigh the “adaptability or transferability of the unfair practice
15

21
16 to other products.” Id.
22
17                       The Court May Impose Occupational Bans
23
18
24        155. Further, “[a] court may frame an injunction based on violation of the

25
19 FTC Act broadly enough to prevent the defendant from engaging in similar illegal
26
20 conduct in the future.” FTC v. Neovi, Inc., No. 06-1952 JLS, 2010 WL 3789713,
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1   at *2 (S.D. Cal. Sept. 27, 2010) (citing FTC v. Colgate-Palmolive, 380 U.S. 374,
2
2   395 (1965)).
3
3
4          156. In fact, numerous courts have imposed bans enjoining future

5
4   participation in a particular line of business. See, e.g., FTC v. Gill, 265 F.3d 944,
6
5   957-58 (9th Cir. 2001) (ban on engaging in the credit repair business); Ivy
7
6
8   Capital, 2013 WL 1224613, at *16 (ban on business coaching); FTC v. John Beck

9
7   Amazing Profits, LLC, 888 F. Supp. 2d 1006, 1013 (C.D. Cal. 2012) (ban on
10
 8 telemarketing and producing or disseminating infomercials); Grant Connect, 827
11
 9 F. Supp. 2d at 1233 (ban on marketing and selling grant products and business
12
13 opportunities); FTC v. Dinamica Financiera, No. 2:09-03554, 2010 WL 9488821,
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14
11 at *12 (C.D. Cal. Aug. 19, 2010) (ban on loan modification and foreclosure relief
15
16 services); FTC v. Neiswonger, 494 F. Supp. 2d 1067, 1084 (E.D. Mo. 2007) (ban
12

17 on marketing business opportunities); FTC v. Bay Area Bus. Council, Inc., No.
13
18
14 02-5762 (N.D. Ill. Apr. 16, 2004) (ban on telemarketing and on sale of credit-
19
20 related products), aff’d, 423 F.3d 627 (7th Cir. 2005); FTC v. Credit Enhancement
15

21
16 Servs., No. 02-2134 (E.D.N.Y. Mar. 31, 2004) (ban on marketing or selling credit-
22
17 related goods or services); FTC v. Consumer Alliance, No. 02-2429 (N.D. Ill.
23
24 Sept.29, 2003) (ban on telemarketing and sales of credit card protection and
18
25
19 credit-related products).
26
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1                                 Measure of Monetary Relief
2
2          157. Where consumers suffer economic injury resulting from defendants’
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3
4    violations of the FTC Act, equity requires monetary relief in the full amount of

5
4    consumers’ losses. FTC v. Stefanchik, 559 F.3d 924, 931 (9th Cir. 2009)
6
5    (affirming summary judgment holding defendants liable for the full amount of
7
6
8    loss incurred by consumers); Inc21.com, 745 F. Supp. 2d at 1011.

9
7          158. To determine the proper monetary relief, the FTC need only
10
 8 reasonably approximate the amount of consumer injury, at which point the burden
11
 9 shifts to Defendants to show that the figures are inaccurate. See Commerce
12
13 Planet, 878 F. Supp. 2d at 1089 (citing FTC v. Direct Marketing Concepts, Inc.,
10
14
11 624 F.3d 1, 15 (1st Cir. 2010); FTC v. Febre, 128 F.3d 530, 535 (7th Cir. 1997)).
15
16 “Fuzzy figures due to a defendant’s uncertain bookkeeping cannot carry a
12

17 defendants’ burden to show inaccuracy.” Id.
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1    CERTIFICATE OF SERVICE
2       The undersigned certifies that on April 19, 2016, a true and correct copy of the
2    foregoing document was electronically filed with the clerk of the U.S. District
3
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